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                        UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF OREGON

In re:                                         Bankruptcy Case Nos.:

   15005 NW Cornell LLC; and                   19-31883-dwh11 (Lead Case)
   Vahan M. Dinihanian, Jr.,                   19-31886-dwh11

                        Debtors.               Jointly Administered Under
                                               Case No. 19-31883-dwh11

                                               FIRST AMENDED DEBTORS’ JOINT
                                               DISCLOSURE STATEMENT DATED
                                               JULY 31,OCTOBER 13, 2020




     FIRST AMENDED DEBTORS’ JOINT DISCLOSURE STATEMENT                      MOTSCHENBACHER & BLATTNER LLP
                                                                              117 SW Taylor Street, Suite 300
     DATED JULY 31,OCTOBER 13, 2020                                               Portland, Oregon 97204
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                    Case 19-31883-dwh11        Doc 314    Filed 10/13/20
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        I.     INTRODUCTION AND SUMMARY

               A.      INTRODUCTION
               On May 21, 2019, 15005 NW Cornell LLC (“NW Cornell”) and Vahan M. Dinihanian,
        Jr. (“Dinihanian”), filed separate voluntary petitions under Chapter 11 of Title 11 of the United

        States Bankruptcy Code (the “Bankruptcy Code”). On October 18, 2019, NW Cornell and

        Dinihanian (collectively, the “Debtors”) filed this Disclosure Statement (the “Disclosure

        Statement”) with the U.S. Bankruptcy Court for the District of Oregon (the “Bankruptcy Court”)

        and their Joint Plan of Reorganization (the “Plan”). A copy of the Plan is attached hereto as

        Exhibit 1.
               This Disclosure Statement is being provided to you by Debtors to enable you to make an

        informed judgment about the Plan. This Disclosure Statement has been prepared to disclose

        information that in Debtors’ opinion is material, important, and helpful to evaluate the Plan.

        Among other things, this Disclosure Statement describes the manner in which Claims and Equity

        Securities will be treated. This Disclosure Statement summarizes the Plan, explains how the

        Plan will be implemented, outlines the risks of and alternatives to the Plan, and outlines the

        procedures involved in confirmation of the Plan. The description of the Plan contained in this

        Disclosure Statement is intended as a summary only and is qualified in its entirety by reference

        to the Plan itself. If any inconsistency exists between the Plan and this Disclosure Statement, the
        terms of the Plan shall control. You are urged to review the Plan and, if applicable, consult with

        your own counsel about the Plan and its impact on your legal rights before voting on the Plan.

               Capitalized terms used but not defined in this Disclosure Statement shall have the

        meanings assigned to such terms in the Plan or the Bankruptcy Code. Factual information

        contained in this Disclosure Statement is the representation of Debtors only and not of their

        attorneys, consultants, or accountants. The information has been obtained from the books and

        records of Debtors as well as other sources deemed reliable. Debtors have prepared the

        information contained herein in good faith, based on information available to Debtors. The

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        information herein has not been subject to a verified audit. No representation concerning

        Debtors or the Plan is authorized by Debtors other than as set forth in this Disclosure Statement.

                 The statements contained in this Disclosure Statement are made as of the date hereof,

        unless another time is specified herein, and the delivery of this Disclosure Statement shall not

        imply that there has been no change in the facts set forth herein since the date of this Disclosure

        Statement and the date the material relied on in preparation of this Disclosure Statement was

        compiled.

                 This Disclosure Statement may not be relied on for any purpose other than to determine

        how to vote on the Plan. Nothing contained herein shall constitute an admission of any fact or

        liability by any party or be admissible in any proceeding involving Debtors or any other party or

        be deemed advice on the tax or other legal effects of the Plan on the holders of Claims or Equity

        Securities.

                 This Disclosure Statement has been approved by Order of the Bankruptcy Court as

        containing information of a kind and in sufficient detail to enable a hypothetical reasonable

        investor typical of holders of Claims or Interests of the relevant classes to make an informed

        judgment concerning the Plan. The Bankruptcy Court’s approval of this Disclosure Statement,

        however, does not constitute a recommendation by the Bankruptcy Court either for or against the

        Plan.

                 The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to commence

        on _______________, 2020 at _____ Pacific time. That hearing will be held at the U.S.

        Bankruptcy Court for the District of Oregon, 1050 SW 6th Ave., 7th Floor, Courtroom 3,

        Portland, Oregon 97204, before the Honorable David W. Hercher. The hearing on confirmation

        may be adjourned from time to time by the Bankruptcy Court without further notice except for

        an announcement made at the hearing on any adjournment thereof.

                 A ballot has been enclosed with this Disclosure Statement for use in voting on the Plan.

        In order to be tabulated for purposes of determining whether the Plan has been accepted or

Page 2 of       DEBTORFIRST AMENDED DEBTORS’S JOINT DISCLOSURE                          MOTSCHENBACHER & BLATTNER LLP
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        rejected, ballots must be received at the address indicated on the ballot no later than 4:00 p.m. on

        ________, 2020. Debtors believe that confirmation of the Plan is in the best interests of the

        holders of Claims and urge you to accept the Plan.

               This Disclosure Statement contains financial information and estimates that demonstrate

        the feasibility of the Plan of Reorganization and Debtors’ ability to complete the steps

        envisioned by the Plan and the Plan Loan upon emergence from Bankruptcy. Debtors prepared

        such information for the limited purpose of furnishing information to Creditors to allow them to

        make an informed judgment regarding acceptance of the Plan of Reorganization. The estimates

        of value should not be regarded for the purpose of this Disclosure Statement as representations

        or warranties by Debtors as to the accuracy of such information or that any such projections or

        valuations will be realized. Actual values could vary significantly from these projections.

               B.      SUMMARY OF THE PLAN
               A copy of the Plan is attached and discussed in detail later in this Disclosure Statement.

        The following description of the Plan is intended as a summary only and is qualified in its

        entirety by reference to the Plan. Debtors urge each holder of a Claim to carefully review the

        entire Plan, together with this Disclosure Statement, before voting on the Plan.

                       1.      General
               Generally, the Plan provides that Debtors will operate in the ordinary course and will

        obtain financing to pay and satisfy their obligations in full.

                       2.      Secured Creditors
               Reorganized Dinihanian’s secured Creditor, Columbia State Bank (“Columbia”), will be

        paid the full amount of its Allowed Secured Claims in accordance with the existing terms of its

        loans to Dinihanian, except as modified under the Plan with respect to certain loan terms and

        covenants set forth in the Plan.




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               Reorganized Dinihanian’s secured Creditor, Tasha Teherani-Ami, will be paid on the

        Effective Date the full amount of her Allowed Secured Claim with interest as stated in the

        Divorce Judgment and actual costs and reasonable attorney fees.

               Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

        prepetition counsel Bateman Seidel and Daniel Lorenz in the face amount of $250,000 as

        security for legal fees advanced by such counsel.

                       3.      General Unsecured Creditors
               All General Unsecured Creditors will be paid in full, together with interest at the federal

        judgment rate in effect on the Effective Date, from and after the Effective Date, not later than six

        months after the Effective Date.

                       4.      Equity Interests
               The Plan provides that existing equity interests in NW Cornell, including that of the

        Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”), will be left in place. The Plan provides

        that Dinihanian will retain his interests in assets of his bankruptcy estate.

                       5.      Leases and Executory Contracts
               All unexpired leases and executory contracts will be assumed by the respective Debtors

        through the Plan unless such unexpired leases and executory contracts have previously been

        assumed and assigned or rejected, or a motion seeking their assumption or rejection has been

        Filed before the Confirmation Date.

                       6.      Effective Date
               The Effective Date of the Plan shall be the later of (a) the eleventh day following entry of

        the Confirmation Order and (b) the first business day following the entry of an order by the

        Bankruptcy Court establishing the reasonable attorney fees and costs for the Class 1 Claim.




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                        7.      Cramdown Election
                In the event any Class does not accept the Plan, Debtors reserve the right to request that

        the Bankruptcy Court confirm the Plan in accordance with Section 1129(b) of the Bankruptcy
        Code or otherwise modify the Plan.

                C.      BRIEF EXPLANATION OF CHAPTER 11
                Chapter 11 is the principal reorganization provision of the Bankruptcy Code. Pursuant to

        Chapter 11, a debtor attempts to reorganize its business for the benefit of Debtor, its creditors,

        and other parties in interest.

                The formulation and confirmation of a plan of reorganization is the principal purpose of a

        Chapter 11 case. A plan of reorganization sets forth the method for compensating the holders of

        claims and interests in a debtor. If a plan is confirmed by the Bankruptcy Court, it will be

        binding on a debtors, its creditors, and all other parties in interest. A claim or interest is

        impaired under a plan of reorganization if the plan provides that the legal, equitable, or

        contractual rights of the holder of such claim or interest are altered. A holder of an impaired

        claim or interest is entitled to vote to accept or reject the plan. Chapter 11 does not require all

        holders of claims and interests to vote in favor of a plan in order for the Bankruptcy Court to

        confirm it. However, the Bankruptcy Court must find that the plan meets a number of statutory

        tests before it may approve the plan. These tests are designed to protect the interests of holders
        of claims or interests who do not vote to accept the plan, but who will nonetheless be bound by

        the plan’s provisions if it is confirmed by the Bankruptcy Court.

                An Unsecured Creditors’ Committee was not appointed by the U.S. Trustee’s office in

        this case pursuant to 11 U.S.C. §§ 1102(a) and (b).

        II.     VOTING PROCEDURES AND CONFIRMATION OF PLAN

                A.      BALLOTS AND VOTING DEADLINE
                A ballot to be used for voting to accept or reject the Plan is enclosed with each copy of

        this Disclosure Statement. After carefully reviewing this Disclosure Statement and its exhibits,

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        including the Plan, please indicate your acceptance or rejection of the Plan by voting in favor or

        against the Plan on the enclosed ballot as directed below.

               The Bankruptcy Court has directed that, to be counted for voting purposes, ballots for the

        acceptance or rejection of the Plan must be received by Debtors no later than 4:00 p.m. Pacific

        time on _______, 2020 at the following address:

                               Motschenbacher & Blattner LLP
                               Attention: Nicholas J. Henderson
                               117 SW Taylor Street, Suite 300
                               Portland, OR 97204-2099
        or via facsimile transmission to Nicholas J. Henderson at (503) 417-0528.

               Holders of each Claim scheduled by Debtors or for which a Proof of Claim has been

        Filed will receive ballots and are permitted to vote based on the amount of the Proof of Claim,

        except as discussed below. If no Proof of Claim has been Filed, then the vote will be based on

        the amount scheduled by Debtors in their Schedules. The Bankruptcy Code provides that such

        votes will be counted unless the Claim has been disputed, disallowed, disqualified, or suspended

        prior to computation of the vote on the Plan. A Claim to which an objection has been Filed is

        not allowed to vote unless and until the Bankruptcy Court rules on the objection. Holders of

        disputed Claims who have settled their dispute with Debtors are entitled to vote the settled

        amount of their Claim. The Bankruptcy Code and rules provide that the Bankruptcy Court may,

        if timely requested to do so by the holder of such Claim, estimate or temporarily allow a disputed

        Claim for the purposes of voting on the Plan.

               If a person holds Claims in more than one Class entitled to vote on the Plan, such person

        will be entitled to complete and return a ballot for each Class. If you do not receive a ballot or if

        a ballot is damaged or lost, please contact:

                               Motschenbacher & Blattner LLP
                               Attention: Nicholas Henderson
                               117 SW Taylor Street, Suite 300
                               Portland, OR 97204-2099
                               (503) 417-0508

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                All persons entitled to vote on the Plan may cast their vote for or against the Plan by

        completing, dating, and signing the enclosed ballot and returning it, by First Class mail or hand

        delivery, to Debtors at the address indicated above. In order to be counted, all ballots must be

        executed and received at the above address no later than 4:00 p.m. Pacific time on _______,

        2020. Any ballots received after 4:00 p.m. Pacific time on _____, 2020 will not be included in

        any calculation to determine whether the parties entitled to vote on the Plan have voted to accept

        or reject the Plan.

                Ballots may also be received by Debtors by facsimile transmission to Motschenbacher &

        Blattner LLP, Attention: Nicholas J. Henderson, at (503) 417-0501. Ballots sent by facsimile

        transmission will be counted if faxed to Mr. Henderson and received by 4:00 p.m. Pacific time

        on _______, 2020.

                When a ballot is signed and returned without further instruction regarding acceptance or

        rejection of the Plan, the signed ballot shall be counted as a vote accepting the Plan. When a

        ballot is returned indicating acceptance or rejection of the Plan but is unsigned, the unsigned

        ballot will not be included in any calculation to determine whether parties entitled to vote on the

        Plan have voted to accept or reject the Plan. When a ballot is returned without indicating the

        amount of the Claim or an amount different from a timely Filed Proof of Claim, then the amount

        shall be as set forth on Debtor’s Schedules or any timely Proof of Claim Filed with respect to

        such Claim or Order of the Bankruptcy Court.

                B.      PARTIES ENTITLED TO VOTE
                Pursuant to Section 1126 of the Bankruptcy Code, each Class of impaired Claims or

        Equity Security Holders that is not deemed to reject the Plan is entitled to vote to accept or reject

        the Plan. Any holder of an Allowed Claim that is in an impaired Class under the Plan, and

        whose Class is not deemed to reject the Plan, is entitled to vote. A Class is “impaired” unless the

        legal, equitable, and contractual rights of the holders of Claims in that Class are left unaltered by

        the Plan or if the Plan reinstates the Claims held by members of such Class by (a) curing any

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        defaults; (b) reinstating the maturity of such Claim; (c) compensating the holder of such Claim

        for damages that result from the reasonable reliance on any contractual provision or law that

        allows acceleration of such Claim; and (d) otherwise leaving unaltered any legal, equitable, or

        contractual right of which the Claim entitles the holder of such Claim. Because of their

        favorable treatment, Classes that are not impaired are conclusively presumed to accept the Plan.

        Accordingly, it is not necessary to solicit votes from the holders of Claims in Classes that are not

        impaired. Classes of Claims or Interests that will not receive or retain any money or property

        under a Plan on account of such Claims or Interests are deemed, as a matter of law under Section

        1126(g) of the Bankruptcy Code, to have rejected the Plan and are likewise not entitled to vote

        on the Plan. All Classes of Claims are impaired under Debtor’s Plan except the Class 1 and

        Class 5 Claims of secured Creditor Tasha Teherani-Ami.

               C.      VOTES REQUIRED FOR CLASS ACCEPTANCE OF THE PLAN
               As a condition to confirmation, the Bankruptcy Code requires that each impaired Class of

        Claims or Interests accept the Plan, subject to the exceptions described below in the section

        entitled “Cramdown of the Plan.” In a “Cramdown,” at least one impaired Class of Claims must

        accept the Plan in order for the Plan to be confirmed.

               For a Class of Claims to accept the Plan, Section 1126 of the Bankruptcy Code requires

        acceptance by Creditors that hold at least two-thirds in dollar amount and a majority in number

        of the Allowed Claims of such Class, in both cases counting only those Claims actually voting to

        accept or reject the Plan. The holders of Claims who fail to vote are not counted as either

        accepting or rejecting the Plan. If the Plan is confirmed, the Plan will be binding with respect to

        all holders of Claims and Interests in each Class, including Classes and members of Classes that

        did not vote or that voted to reject the Plan.

               D.      “CRAMDOWN” OF THE PLAN
               If the Plan is not accepted by all of the impaired Classes of Claims and Interests of

        Debtors, the Plan may still be confirmed by the Bankruptcy Court pursuant to Section 1129(b) of

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        the Bankruptcy Code’s “Cramdown” provision if the Plan has been accepted by at least one

        Impaired Class of Claims, without counting the acceptances of any Insiders of Debtor, and the

        Bankruptcy Court determines, among other things, that the Plan “does not discriminate unfairly”

        and is “fair and equitable” with respect to each non-accepting impaired Class of Claims or

        Interests. Debtors believe the Plan can be confirmed even if it is not accepted by all impaired

        Classes of Claims and hereby request the Bankruptcy Court to confirm the Plan in accordance

        with Section 1129(6) of the Bankruptcy Code or otherwise modify the Plan in the event any

        Class of Creditors does not accept the Plan.

               E.      CONFIRMATION HEARING
               The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to commence

        on _____, 2020, at __ a.m. Pacific time. The confirmation hearing will be held at the U.S.

        Bankruptcy Court for the District of Oregon, Courtroom 3, 1050 SW 6th Avenue, 7th Floor

        Portland, Oregon, before the Honorable David W. Hercher, United States Bankruptcy Judge. At

        the hearing, the Bankruptcy Court will consider whether the Plan satisfies the various

        requirements of the Bankruptcy Code, including whether it is feasible and whether it is in the

        best interests of the Creditors of Debtors. Prior to the hearing, Debtors will submit a report to

        the Bankruptcy Court concerning the votes for acceptance or rejection of the Plan by the persons

        entitled to vote thereon.
               Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to

        confirmation of the Plan. Any objections to confirmation of the Plan must be made in writing

        and Filed with the Bankruptcy Court and received by counsel for Debtors no later than 4:00 p.m.

        Pacific time on _______, 2020. Unless an objection to confirmation is timely Filed and

        received, it will not be considered by the Bankruptcy Court.




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        III.    COMPANY BACKGROUND AND GENERAL INFORMATION

                A.     DEBTORS
                NW Cornell is a manager-managed Oregon limited liability company owned equally by
        Eagle Holdings LLC and the Trust, which also asserts an equitable interest in the real property

        owned by NW Cornell, although such ownership is disputed. Dinihanian is the manager of NW

        Cornell and is authorized to take all actions on its behalf. Dinihanian is an individual residing in

        the State of Oregon and is the sole member and manager of Eagle Holdings, LLC. NW Cornell’s

        primary asset is its 50 percent tenant-in-common ownership interest in 37 acres of undeveloped

        real property located at 15005 NW Cornell Road, Beaverton, Oregon.

                B.     DINIHANIAN’S BUSINESSES
                Prior to the filing of the Bankruptcy Cases, Dinihanian’s principal business was operating

        Eagle Holdings, LLC, which owns other real estate-centered limited liability companies and

        engages in enterprises regarding motor vehicles, the production of mechanical parts, and

        property management. Dinihanian intends to continue operating Eagle Holdings and its entities

        under their existing business models.

                C.     MANAGEMENT OF NW CORNELL.
                Reorganized NW Cornell will consist of the same owners and management as currently

        exists. NW Cornell does not have any employees. Depending on the path pursued under the
        Plan, NW Cornell will continue to own a 50 percent tenant-in-common interest in the Cornell

        Property, develop the Cornell Property in cooperation with non-debtor tenant-in-common

        owners, or it will possess the net proceeds from the sale of its interest in the property.

                D.     WASHINGTON COUNTY LITIGATION
                NW Cornell is the plaintiff in 15005 NW Cornell, LLC v. Cornell Rd. LLC, et al., Case

        No. 18CV17059, pending in the Circuit Court for the State of Oregon for Washington County.

        NW Cornell commenced the partition proceeding because the other tenant-in-common owners of

        the Cornell Property would not cooperate in the development of the property or consent to NW

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        Cornell borrowing against its interest in the property. The Washington County court in a

        memorandum opinion indicated that partitioning is an appropriate remedy, although it would

        require additional time-consuming land use master-planning procedures prior to such a partition

        being determined. No further action has occurred in the Washington County court after the

        Petition Date due to the fact that parties have opposed NW Cornell’s applications to employ

        counsel for that action.

        IV.    EVENTS LEADING TO THE BANKRUPTCY FILING
                       Debtors’ bankruptcy filings were precipitated by the scheduled foreclosure sales

        of the Skyline Property and the Cornell Property initiated by Creditor Tasha Teherani-Ami
        (“Teherani-Ami”) based on deeds of trust recorded on both properties as provided in the General

        Judgment of Dissolution of Marriage (the “General Judgment”) entered in the divorce case

        involving Teherani-Ami and Dinihanian, Multnomah County Circuit Court Case No.

        1208-68730 (the “Divorce Case”). In the General Judgment obligated Dinihanian to make a

        significant settlement payment to Teherani-Ami in January 2018, and that payment was secured

        by the deeds of trust. When Dinihanian was unable to make that payment, Teherani-Ami

        initiated foreclosure proceedings on both the Skyline and the Cornell Property. In addition,

        Teherani-Ami filed an action compel Dinihanian to execute a deed, on behalf of NW Cornell, to

        half of NW Cornell’s tenant-in-common interest in the Cornell Property or be held in contempt
        (Multnomah County Circuit Court Case No. 19-CN01457) (the “Contempt Proceeding”).

                       Debtors had and continue to have insufficient funds with which to pay their

        creditors until the Cornell Property is sold or until Debtors can obtain financing secured by NW

        Cornell’s interest in the Cornell Property and Dinihanian’s interest in the Skyline Property, or

        both. As a result, Debtors were unable to avoid the imminent risks of foreclosure or the transfer

        of half of NW Cornell’s interest in the Cornell Property and filed for Chapter 11 bankruptcy

        protection to prevent the loss of significant value in the Cornell Property and Skyline Property.



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        V.         SIGNIFICANT POST-PETITION EVENTS
                   Debtors obtained an order to lift the automatic stay to reengage in the Washington

        County partition litigation. Debtors have not pursued that litigation for various reasons,
        primarily because the application of itsto employ partition counsel has been blocked in the

        Bankruptcy Cases. Debtors have invested extensive efforts to arrange financing to finance the

        payments of Claims and facilitate the incremental development of some or all of the Cornell

        Property. Such financing has been arranged through lender SORFI, LLC, an affiliate of Sortis
                                                                                  1
        Capital (the “Plan Lender”) and the Plan Loan described in the Plan.          The term sheet

        describing the Plan Loan’s terms is attached as Exhibit 2 hereto. Under the term sheet, Debtors

        will be obligated to grant Sortis Real Estate, LLC, an affiliate of the Plan Lender, a right of first

        refusal to serve as the listing broker to market and sell NW Cornell’s rights, title and interest in

        the Cornell Property should the listing and marketing of NW Cornell’s tenant-in-common

        interests become necessary and appropriate following Plan confirmation.

                   Debtors have otherwise devoted the bulk of their efforts since the petition date preparing

        and proposing a plan of reorganization and disclosure statement and plan and then engaging in

        numerous rounds of mediation with Tasha Teherani-Ami, in her individual capacity and as

        trustee for the Trust, as well as the other tenant-in-common owners of the Cornell Property. To

        date, these efforts have been unsuccessful in reaching a resolution, leading Debtors to file and
        seek confirmation of the present Plan.


        1
             Debtors already have an indirect lender-borrower relationship. SORFI, LLC loaned 933
             Harrison Blvd., LLC (“933 LLC”) the amount of $1,250,000 in early 2020, to refinance 933
             LLC’s mortgage debt that had matured. The SORFI loan to 933 LLC was guaranteed by Eagle
             Holdings, LLC, but was not personally guaranteed by either of the Debtors. Dinihanian asserts
             that 100% of the outstanding membership interest in 933 LLC is owned by Eagle Holdings,
             LLC, a single member LLC in which Dinihanian owns 100% of the membership interest.
             Certain parties in interest dispute Dinihanian’s assertions that Eagle Holdings owns 933 LLC,
             and allege that Dinihanian owns 933 LLC directly. Debtors believe this distinction is
             inaccurate, and, more importantly, Debtors believe that the distinction is irrelevant given that
             (i) Debtors’ Plan proposes to pay 100%, and (ii) Dinihanian’s liquidation analysis includes the
             value of 933 LLC and its assets.
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               In addition, the Trust has filed an adversary proceeding (Adv. Pro. No. 20-03077) (the

        “Trust Complaint”) seeking a declaratory judgment to enforce the terms of the Stipulated

        Judgment, specifically with respect to its asserted right to a deed from NW Cornell to a

        twenty-five percent tenant-in-common interest in the Cornell Property. The Trust also filed a

        proof of claim in the NW Cornell case (Claim 5-1, the “Claim”). NW Cornell has objected [Dkt.

        258] to the Claim on various grounds, filed an answer to the Trust Complaint, and filed an

        adversary proceeding (Adv. Pro. No. 20-03079) (the “Cornell Avoidance Action”), to which the

        Trust has filed an answer.

               NW Cornell instituted an adversary proceeding (Adv. Pro. No. 19-03096) (the

        “Teherani-Ami Adversary”) against Teherani-Ami to avoid the Deed of Trust on the grounds

        that it constituted a fraudulent transfer. In light of the full payment provided for the

        Teherani-Ami Claim under the Plan, the Debtors will seek to abate the Teherani-Ami Adversary.

               A.      EMPLOYMENT OF PROFESSIONALS
               NW Cornell has retained Perkins Coie LLP as its general counsel in the NW Cornell

        Bankruptcy Case. Dinihanian has retained Motschenbacher & Blattner LLP as his general

        counsel in the Dinihanian Bankruptcy Case. Dinihanian also sought and obtained Bankruptcy

        Court approval for the employment of Delap as his accountant. NW Cornell has sought the

        approval for the employment of Bateman Seidel to serve as ordinary course counsel in the

        partition litigation, although no order has been entered by the Court due to objections asserted by

        the Trust and the partition litigation has therefore been unable to proceed.

        VI.    ASSETS AND LIABILITIES

               A.      ASSETS

                       1.      NW Cornell’s Real Property
               As described above, NW Cornell’s principal asset is a fifty-percent tenant-in-common

        interest in the Cornell Property, which is a 37-acre parcel located at 15005 NW Cornell Road,

        Beaverton, Oregon. Debtors estimateNW Cornell estimates that the value of its half interest in

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        the Cornell Property was approximately $13,500,000 as of the Petition Date. This is supported

        by a broker’s price opinion dated February 26, 2019. It is difficult to assess what impact the

        pandemic currently afflicting the United States will have on the value of the Cornell Property or

        other properties in the greater Portland area. The non-debtor tenant-in-common owners are

        limited liability companies owned by Dinihanian’s sister, Lillian Logan, and her two adult

        children. They assert that NW Cornell lacks the authority to enter into the Plan Loan, and that

        entering into the Plan Loan will, through an unauthorized transfer or otherwise, create a

        multi-million-dollar damages claim in favor of the non-debtor tenant-in-common owners under

        the tenant-in-common agreement. NW Cornell asserts that it has the authority to enter into the

        Plan Loan pursuant to Section 8 of the tenant-in-common agreement without violating any other

        provision of the agreement or creating a damages claim.

                         2.     Dinihanian’s Real Property
                 Dinihanian owns real property and improvements at 237 NW Skyline, in Portland

        Oregon. The Skyline Property is Mr. Dinihanian’s residence, as well as the location where Mr.

        Dinihanian conducts the business activities of Eagle Holdings. Dinihanian estimates that the

        total value of the residence was approximately $1,000,000 as of the Petition Date.

                         3.     Personal Property
                 As of the Petition Date, NW Cornell owns very few items of personal property. As of the

        Petition Date, Dinihanian’s hard assets consisted of miscellaneous household goods and

        furnishings. Dinihanian also had checking accounts and brokerage accounts. Dinihanian also

        owns all membership interests in Eagle Holdings, LLC, which in turn owns stock or membership

        interests in various entities that own commercial real estate. Dinihanian owns a half interest with

        his sister, Lillian Logan, in a cabin located in Welches, Oregon. A list of Dinihanian’s assets can

        be found in Dinihanian’s Amended Schedule A/B [ECF No. 60] (Dinihanian Case)12. The

        combined net values of Dinihanian’s assets, including Eagle Holdings and the various stock or


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             References to the “Dinihanian Case” refer to Bankruptcy Case No. 19-31886-dwh11.
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        membership interests it owns, and the Welches cabin, fall far short of the funds necessary to pay

        the Claims and other amounts required to be paid under the Plan.

               Dinihanian also has potential tort claims (potentially as derivative claims) against Lillian

        Logan, related to allegations of breach of fiduciary duty and oppression in connection with

        Dinihanian Floral Products, Inc., which is jointly owned by Dinihanian and Ms. Logan.

               B.       LIABILITIES

                        1.    Tasha Teherani-Ami
               Pursuant to the Divorce Judgment, Dinihanian owes Tasha Teherani-Ami $2,250,000,

        plus accrued interest at 4.5% per annum from the date of the Divorce Judgment, until paid, as

        well as actual and reasonable costs and attorney fees. The Divorce Judgment is secured by a

        Residential Trust Deed against the Skyline Property and by a deed of trust against NW Cornell’s

        interest in the Cornell Property. NW Cornell has commenced an adversary proceeding to avoid

        the transfer by which the deed of trust against the Cornell Property was delivered to Ms.

        Teherani-Ami.

                        2.    Bateman Seidel and Daniel Lorenz Trust Deed Claims
               Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

        prepetition counsel Bateman Seidel and Daniel Lorenz in the face amount of $250,000 as

        security for legal fees advanced by such counsel.

                        3.    Columbia Bank
               Dinihanian owes Columbia Bank in connection with an equipment loan, and a real estate

        loan for commercial properties owned by two limited liability companies he controls.

        Dinihanian also has executed personal guaranties in connection with other loans made by

        Columbia Bank to entities controlled by Mr. Dinihanian.

                        4.    Unsecured Creditors
               The total amount of Unsecured Claims scheduled by Dinihanian is approximately

        $976,654. This amount excludes any duplication for scheduled and Filed claimsincludes the

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        Columbia Bank claims described above. This amount does not include claims made by Lillian

        Logan [See Claim No. 4; Case No. 19-31886-dwh11].

                       5.      Trust Claim
               The Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”) seeks the immediate transfer

        of a deed to half of NW Cornell’s undivided tenant-in-common interest in the Cornell Property
        in exchange for redemption of the Trust’s half membership interest in NW Cornell, pursuant to

        the Divorce Judgment and as set forth in late-filed Claim No. 6. NW Cornell has commenced an

        adversary proceeding to avoid any obligation to make such a transfer of half of its assets or, to

        the extent such a transfer is deemed to have occurred without an executed deed, to avoid such a

        deemed transfer.

                       6.      Other Asserted Hypothetical Claims
               The co-owners of the Cornell Property have asserted arguments that they may be injured

        and suffer damages if (1) NW Cornell’s TIC interest in the Cornell Property is transferred as a

        result of foreclosure of the proposed Plan Loan; or (2) the entire Cornell Property is ultimately

        sold as a whole pursuant to Section 363(h) of the Bankruptcy Code. The co-owners argue that

        either type of transfer would result in a breach of the Tenancy in Common Agreement between

        NW Cornell and the co-owners. Further, in the event that a sale of the entire Cornell Property is

        sold pursuant to 11 U.S.C. § 363(h), the co-owners argue they may be damaged because the sale
        would result in taxable gains, which would impose tax liabilities upon them that would not exist

        but for a sale of the entire Cornell Property. Debtors deny the co-owners’ arguments that

        Debtors would be liable under either scenario, for the reasons set forth below.

                               a.     Foreclosure of Plan Loan
               First, in the event that NW Cornell’s TIC interest in the Cornell Property is transferred as

        a result of foreclosure of the Plan Loan, the transfer would be an authorized transfer. The

        Tenancy in Common Agreement is written to preserve each co-owner’s ability to pursue a 1031

        exchange with respect to their prospective interests in the Cornell Property. Specifically, the

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        Tenancy in Common Agreement is written in compliance with IRS Rev. Proc. 2002-22 in at least

        the following ways in that it:

                    • Provides that the title to the Cornell Property as a whole may not be held as an

                    entity under state law (TIC Agreement, ¶ 1);

                    • Provides that the co-ownership may not file a partnership or corporate tax return

                    (TIC Agreement); •         Indicates that each co-owner may encumber its share of the

                    Cornell Property (TIC Agreement, ¶ 8);

                    • Indicates that each co-owner may transfer its respective interest in the Cornell

                    Property, subject only to a right of first refusal in favor of the other co-owners (TIC

                    Agreement, ¶ 10(a)).

               Because these provisions are present in the Tenancy In Common Agreement, Debtors

        believe that the co-owners arguments are misplaced. Because the agreement authorizes NW

        Cornell to encumber its TIC Interest, the agreement implicitly consents to the risk that NW

        Cornell’s interest may be transferred through foreclosure in the event of a default. Moreover, if

        the Debtors default on the Plan Loan after confirmation and funding of such loan, notice of any

        potential foreclosure sale can be provided to the co-owners in compliance with Section 10(b) of

        the TIC Agreement. Such notice would provide the co-owners the opportunity to purchase NW

        Cornell’s TIC Interest prior to foreclosure. In the event that the co-owners fail to elect to
        purchase NW Cornell’s TIC Interest, the TIC Agreement explicitly authorizes a transfer. In the

        event that Debtors are wrong about this position, and if foreclosure of the Plan loan would result

        in a breach of the TIC Agreement, there is a risk that the Debtors will be liable to the co-owners,

        which could diminish the amount of Debtors’ equity. Debtors believe the risk to creditors is

        minimal, because claims will have already been paid under the Plan prior to any potential

        foreclosure. Thus, the majority of the risk is borne by Debtors themselves.

                               b.        Sale of Entire Cornell Property



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                       In the event of a sale of the entire property, Debtors believe the TIC co-owners

        would not have any claim against the Debtors, for breach of the TIC Agreement or otherwise.

        First, Debtors do not believe there is any controlling authority indicating that they bear any

        liability to the co-owners if Debtors successfully prove the elements of a claim under § 363(h).

        Second, Debtors believe the co-owners would be provided sufficient notice to enable them to

        minimize their respective taxes through a 1031 exchange, completely mitigating any potential

        damages. Finally, as is described above regarding foreclosure, co-owners would be provided

        notice of any potential sale of the entire property, and they would therefore have the ability to

        make an offer to purchase the Cornell Property, or even just NW Cornell’s TIC Interest. There is

        a risk that, if Debtors are incorrect in these arguments, that the equity Debtors will receive after a

        sale will be reduced by the amount of damages they are required to pay the co-owners. Debtors

        believe the risk to creditors is minimal, because claims will have already been paid under the

        Plan prior to any potential foreclosure. Thus, the majority of the risk is borne by Debtors

        themselves.

        VII.    DESCRIPTION OF PLAN

                A.     SOLICITATION AND CLASSIFICATION AND TREATMENT OF
                       CLAIMS AND EQUITY SECURITIES
                       1.   General
                Pursuant to Section 1123(a)(1) of the Bankruptcy Code, a Plan of Reorganization must

        designate classes of Claims and classes of interest. The Plan classifies all Claims and Interests

        into 13 classes. The classification of Claims and Interests is made for the purpose of voting on

        the Plan and making distributions thereunder, and for ease of administration of the Plan. A

        Claim or Interest is classified in a particular Class only to the extent the Claim or Interest

        qualifies within the description of that Class and is classified in a different Class to the extent the

        Claim or Interest qualifies within the description of such different Class. A Claim or Interest is

        entitled to vote in a particular Class and to receive distributions in such Class only to the extent

        such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not been
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        paid prior to the Effective Date. Under the Plan, a Claim or Interest is an Allowed Claim

        against, or an Allowed Interest in, Debtor to the extent that (a) a proof of the Claim or Interest

        was (1) timely Filed, or (2) deemed Filed under applicable law by reason of an order of the

        Bankruptcy Court; or (b) scheduled by Debtor on its Schedules of Liabilities as neither

        contingent, unliquidated, or disputed; and (c) (i) no party in interest has Filed an objection within

        the time fixed by the Bankruptcy Court, (ii) the Claim or Interest is allowed by Final Order; or

        (iii) with respect to an application for compensation or reimbursement of an Administrative

        Expense Claim, the amount of the Administrative Expense Claim has been approved by the

        Bankruptcy Court.

                       2.      Unclassified Claims
               Administrative Expense Claims and Priority Tax Claims are not classified. An

        Administrative Expense Claim is a Claim against Debtors constituting an expense of

        administration of the Bankruptcy Case allowed under Section 503(b) of the Bankruptcy Code

        including, without limitation, the actual and necessary costs and expenses of preserving the

        estate and operating Debtors’ business during the Bankruptcy Case; claims for the value of

        goods received by Debtors within 20 days before the Petition Date sold in the ordinary course of

        business; any indebtedness or obligations incurred by Debtors during the pendency of the

        Bankruptcy Case in connection with the provision of goods or services to Debtors; compensation

        for legal and other professional services and reimbursement of expenses; and statutory fees

        payable to the U.S. Trustee.

               A “Priority Tax Claim” is a Claim of a governmental unit of the kind entitled to priority

        under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled to priority

        but for the Secured status of the Claim. Each holder of an Allowed Priority Tax Claim shall be

        paid by Reorganized Debtors, within 30 days following the Effective Date or the date the Claim

        is Allowed, whichever is sooner, the full amount of its Allowed Priority Tax Claim as allowed



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        by 11 U.S.C. § 1129(a)(9)(C) and (D). The IRS has Filed a Priority Tax Claim against

        Dinihanian in the amount of $6,084.70

               Pursuant to the Plan of Reorganization, Administrative Expense Claims will be paid in

        full on the later of the Effective Date or the date on which any such Administrative Expense

        Claim becomes an Allowed Claim unless such holder shall agree to a different treatment of such

        Claim (including, without limitation, any different treatment that may be provided for in any

        documentation, statute, or regulation governing such Claim). However, the Administrative

        Expense Claims representing liabilities incurred in the ordinary course of business (including

        amounts owed to vendors and suppliers that have sold goods or furnished services to Debtors

        after the Petition Date), if any, will be paid in accordance with the terms and conditions of the

        particular transactions and any other agreements relating thereto. Debtors will include the

        estimated amount of such expenses in the Report of Administrative Expense Claims to be Filed

        prior to the hearing on confirmation.

                       3.      Classified Claims
               The following summary of distributions under the Plan to Classified Claims does not

        purport to be complete and is subject to, and is qualified in its entirety by reference to, the Plan

        attached hereto as Exhibit 1.
                               (a) Class 1 (Tasha-Teherani-Ami’s Secured Claim Against Dinihanian).
        Class 1 consists of Tasha Teherani-Ami’s Secured Claim against Dinihanian. The Class 1 Claim

        will be paid in full on the Effective Date, together with interest at the rate of 4.5% per annum

        from and after the Petition Date, and reasonable costs and attorney fees in an amount established

        by the Bankruptcy Court following application and hearing. Teherani-Ami will file an

        application her reasonable costs and attorney fees associated with the Class 1 Claim not later

        than 14 days after the entry of order confirming the Plan. Class 1 is unimpaired and will be

        deemed to accept the Plan. The Divorce Judgment shall be modified to extend the deadline for



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        payment of the Class 1 Claim to the date on which the Class 1 Claim is to be paid under the

        terms of this Plan.

               The Teherani-Ami Skyline Trust Deed shall be modified as follows:

                  Section 1.2 shall be modified to read as follows:


                   “Grantor will pay and perform all Obligations when due under the Joint Chapter 11
                   Plan dated July 30, 2020, filed in the Bankruptcy Case of In re 15005 NW Cornell,
                   LLC, Bankruptcy Case No. 19-31883-dwh11 (jointly administered).

                  The following language shall be added to the end of Article V:

                   “Notwithstanding the foregoing, the Obligations shall not be accelerated as a result of
                   Grantor’s filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                      Case Number 19-31886-dwh11.

                  Sections 1.8, 1.9, and all provisions referring those sections, shall be deleted.

        All other provisions of the Teherani-Ami Skyline Trust Deed shall remain unmodified.

                               (b) Class 2 (General Unsecured Claims Allowed Against NW Cornell).

        Class 2 consists of all Allowed Unsecured Claims against NW Cornell that are not otherwise

        classified in the Plan. Each holder of a Class 2 Claim shall be paid in full together with interest

        at the federal judgment rate (fixed at the rate in effect on the Effective Date) within six months

        after the Effective Date.

                               (c) Class 3 (Trust Claim). Class 3 consists of the Disputed Trust Claim to

        ownership in the Cornell Property as a result of the Divorce Judgment. The Class 3 will retain

        its prepetition membership interest in Cornell LLC as the Reorganized Debtor in full satisfaction

        of the Trust Claim. The Class 3 is impaired under the Plan.

                               (d) Class 4 (Multnomah County Property Taxes). Class 4 consists of

        Multnomah County’s secured property tax claim against Dinihanian, secured by the Skyline

        Property. The Class 4 Claim shall be paid in full, together with interest at the rate of 16% per

        annum from and after the Petition Date. The Class 3 Claim shall be paid in the same manner as

        Class 2 Claims.

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                              (e) Class 5 (Tasha Teherani-Ami). The Class 5 Claim consists of Tasha

        Teherani-Ami’s disputed secured claim against NW Cornell, pursuant to the Divorce Judgment

        and the Teherani-Ami Cornell Trust Deed. The Class 5 Claim is the same debt as the Class 1

        Claim and payment of the Class 1 Claim, described above, shall constitute full satisfaction of the

        Class 5 Claim. The Class 5 Claim is unimpaired and is deemed to accept the Plan.

                              (f)     Class 6 (Bateman Seidel Claim). Class 6 consists of the Allowed

        secured Claim of Bateman Seidel, PC. The Class 6 Claim shall be paid at the same time and in

        same manner as Class 2 Claims, described above.

                              (g)     Class 7 (Lorenz Claim). Class 7 consists of the Allowed secured

        Claim of Daniel Lorenz. The Class 7 Claim shall be paid in at the same time and in the same

        manner as the Class 2 Claims, described above.

                              (h) Class 8 (Columbia Bank – Equipment Loans). Class 8 consists of the

        Allowed Secured Claim of Columbia Bank, relating to the Columbia Equipment Note. Any

        default that exists under the Columbia Loan Documents shall be deemed cured or waived as of

        the Effective Date. Columbia’s Class 6 Claim will be paid in full together with interest at the

        non-default rate under the Columbia Equipment Note, on the same terms and payments as set

        forth in the Columbia Equipment Note, commencing with the first payment due 60 days after the

        Effective Date. The Columbia Equipment Note will remain in effect except as stated below:

                          The maturity date will be delayed for the amount of time between the Petition
                           Date and the date on which the first payment is due to the Class 6 Claim under
                           the terms of this Plan.

                          The Columbia Equipment Note shall be amended to delete any reference to
                           the note being payable on demand.

                          The following language shall be added to the end of Section X:

                           “Notwithstanding the foregoing, the Obligations shall not be accelerated as a
                           result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                           commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s

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                            filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                            Case Number 19-31883-dwh11.”

                                (i) Class 9 (Columbia Bank – Real Estate Loan). Class 9 consists of the

        Allowed Secured Claim of Columbia Bank, relating to the Columbia Real Estate Note. Any

        default that exists under the Columbia Loan Documents shall be deemed cured or waived as of

        the Effective Date. The Class 9 Claim will be paid in full together with interest at the

        non-default rate under the Columbia Real Estate Note, on the same terms and payments as set

        forth in the Columbia Real Estate Note. The Columbia Real Estate Note will remain in effect

        except as stated below:

                               The Columbia Real Estate Note shall be amended to delete any reference
                                to the note being payable on demand.

                               The following language shall be added to the end of Section X:

                                “Notwithstanding the foregoing, the Obligations shall not be accelerated
                                as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                                commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                                filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                                Case Number 19-31883-dwh11.”

                                (j) Class 10 (Guaranty Claims against Dinihanian). Class 10 consists of

        all allowed Guaranty Claims, including Columbia’s Allowed Claims related to the Columbia

        Guaranty Documents, and those related to other Guaranty Documents. Any default that exists

        under the Columbia Guaranty Documents or other Guaranty Documents shall be deemed cured

        or waived as of the Effective Date. The Columbia Guaranty Documents and other Guaranty

        Documents shall remain in effect, except as stated:


                               The following language in the Columbia Guaranty Documents shall be
                                added to the end of Section X:

                                “Notwithstanding the foregoing, the Obligations shall not be accelerated
                                as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                                commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s


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                               filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                               Case Number 19-31883-dwh11.”

                               (k) Class 11 (General Unsecured Claims against Dinihanian). Class 11

        consists of all Allowed unsecured claims against Dinihanian not otherwise classified in this Plan.

        Each holder of a Class 11 Claim shall be paid in full together with interest at the federal

        judgment rate (fixed at the rate in effect on the Petition Date) from and after the Petition Date,

        until paid in full. The Class 11 Claims shall be paid at the same time and in the same manner as

        the Class 2 claim.

                               (l) Class 12 (Interests in NW Cornell). Class 12 Interests in NW Cornell

        shall retain their interests in NW Cornell.

                               (m) Class 13 (Dinihanian’s Interests). The Class 13 interest holder is

        Dinihanian, who shall retain his interests in property of the bankruptcy estate of the Dinihanian

        Bankruptcy Case.

               B.      ADMINISTRATIVE EXPENSES
               NW Cornell has retained the following professionals: (a) Perkins Coie LLP as its general

        counsel in this case and (b) Delap LLP as its accountants. TheCurrently, the total amount of

        Administrative Expense Claims is uncertain at this time$300,000 and could be as high as

        $375,000 by the Effective Date depending on the extent of litigation with various parties in

        interest. A statement of professional fees incurred in this case will be Filed with the Court prior

        to the confirmation hearing.

               Dinihanian has retained the following professionals: (a) Motschenbacher & Blattner LLP

        as his general bankruptcy counsel in this case and (b) Delap LLP as his accountants.

        TheCurrently, the total amount of Administrative Expense Claims is uncertain at this

        timeapproximately $150,000 and could be as high as $200,000 depending on the extent of

        litigation with various parties in interest. A statement of professional fees incurred in this case

        will be Filed with the Court prior to the confirmation hearing.


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               C.      EXECUTORY CONTRACTS
               The Bankruptcy Code gives debtors the right, after commencement of their Chapter 11

        Cases, subject to approval of the Bankruptcy Court, to assume or reject executory contracts and
        unexpired leases. Generally, an “executory contract” is a contract under which material

        performance (other than the payment of money) is still due by each party. The Plan provides for

        the assumption by debtors of all executory contracts and unexpired leases that are not expressly

        rejected or subject to a motion for rejection Filed on or before the Confirmation Date.

               If an executory contract or unexpired lease is or has been rejected, the other party to the

        agreement may file a Proof of Claim for damages resulting from such rejection. The Plan

        provides that a Proof of Claim with respect to any such Claim must be Filed within 30 days of

        approval of the Bankruptcy Court of the rejection of the relevant executory contract or unexpired

        lease. Any such Claim shall constitute a Class 2 Claim to the extent such Claim is finally treated

        as an Allowed Claim. To the extent a debtor rejects an unexpired lease of nonresidential real

        property, the Claim for damages resulting from such rejection will be limited to the amount

        allowed under the Bankruptcy Code.

               Upon assumption of an executory contract or unexpired lease, debtors must cure or

        provide adequate assurance of prompt cure of any monetary defaults. The Plan provides that

        Reorganized Debtors will promptly cure all monetary defaults.
               The Trust asserts the NW Cornell limited liability operating agreement (the “Operating

        Agreement”) is an executory contract that must be assumed and that, because it includes a

        personal services contract, the Trust contends, the contract cannot be assumed by NW Cornell

        without the Trust’s consent, which will not be provided. The Trust further contends the Plan

        cannot be confirmed, and indeed the bankruptcy case must be dismissed, absent NW Cornell’s

        assumption of the Operating Agreement. Specifically, the Trust argues NW Cornell’s failure to

        execute a deed to the Trust of half of NW Cornell’s tenant-in-common interest in the Cornell



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        Property, pursuant to the Stipulated Judgment, is default under the Operating Agreement that

        must be cured as a condition of assumption.

               The Debtors disagree with the Trust’s argument on numerous grounds, including that the

        Operating Agreement is not an executory contract, that NW Cornell was not a party to the

        Stipulated Judgment that purports to require execution of a deed to the Trust, that NW Cornell

        received no consideration for such a transfer, among other arguments. These arguments are set

        forth and will be decided, in whole or in part, through NW Cornell’s objection to the Trust’s

        Claim, the Trust’s Complaint, and the Cornell Avoidance Action.

               If the Trust prevails and the Debtors do not, the Plan Lender may not fund the Plan Loan

        and the Plan may not be confirmable.

               D.      IMPLEMENTATION OF THE PLAN
               The Debtors will obtain the funds to pay Claims as provided in this Plan through

        borrowing under the Plan Loan. A condition of the Plan Loan is Debtors’ obligation to complete

        or otherwise resolve the partition litigation pending in Washington County or, in consultation

        with the Plan Lender, the Debtors’ determination that completion of the partition litigation is not

        practicable within a reasonable time and the Debtors should pursue, through a reservation of

        jurisdiction by this Court, the sale of the entire Cornell Property pursuant to Section 363(h) of

        the Bankruptcy Code. Repayment of the Plan Loan will be secured by encumbrance on the
        Skyline Property. It will also be secured by an encumbrance on NW Cornell’s

        tenant-in-common interest in the Cornell Property. NW Cornell is authorized to such an

        encumbrance pursuant to Paragraph 8 of the Tenant-in-Common Agreement, which states: “Each

        owner shall have the right to encumber its undivided interest in the Property without the

        approval of any person and shall discharge the obligation secured by the encumbrance in

        accordance with its terms.” Other tenant-in-common owners have challenged NW Cornell’s

        right to agree to such an encumbrance. There is a risk that such a challenge will prevail and that



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        the encumbrance will not be permitted. Under those conditions, the Plan Lender may not agree

        to fund the Plan Loan.

               The Trust asserts NW Cornell must deliver to it a deed to a twenty-five percent

        tenant-in-common interest in the Cornell Property in exchange for the redemption of the Trust’s

        fifty-percent membership interest in NW Cornell, an exchange provided for the Stipulated

        Judgment.    NW Cornell rejects the Trust’s position that it must deliver a deed on various

        grounds, including that NW Cornell was not a party to the Stipulated Judgment and received no

        consideration for such a deed. The Trust has commenced an adversary proceeding seeking a

        declaratory judgment that would result in the Trust owning half of NW Cornell’s TIC interest in

        the Cornell Property. The Trust also argues that the Debtors must assume three executory

        contracts before Debtors have the authority to confirm the Plan and obtain the Plan loan.

        Debtors deny all of the Trust’s claims.

               NW Cornell is defending the adversary proceeding brought by the Trust and has

        commenced an adversary proceeding to avoid any obligation allegedly imposed upon NW

        Cornell to transfer a deed to the Trust. NW Cornell has also filed an objection to the Trust’s

        proof of claim. Debtors believe that the Trust’s right to equitable relief would be eliminated if

        the objection to the proof of claim is sustained by the Bankruptcy Court. The Trust has argued

        that NW Cornell must succeed in both adversary proceedings and the proof of claim objection
        for the Plan to be successful. Debtors reject the Trust’s arguments and believe the Plan may still

        be successful even if NW Cornell loses the claim objection and both adversary proceedings.

        Ultimately, however, the following risks exist: (i) the Debtors may lose the adversary

        proceedings and the proof of claim objection, (ii) losing one or more of the adversary

        proceedings and the proof of claim objection could require NW Cornell to grant a deed to the

        Trust; and (iii) the Plan Lender may not agree to fund the Plan Loan if the Trust is granted a

        deed, which would result in failure of the Plan.



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               The Trust also asserts, in light of its claims under the Stipulated Judgment, NW Cornell

        should not be permitted to grant an encumbrance on NW Cornell’s half tenant-in-common

        interest in the Cornell Property. If the Trust’s objection is sustained, the encumbrance on NW

        Cornell’s fifty-percent tenant-in-common interest in the Cornell Property envisioned by Plan

        Lender will be diminished by half, and the Plan Lender may not agree to fund the Plan Loan.

               As a condition of the Plan Loan, the Plan Lender will require the Debtors to agree to (i)

        use their best efforts to complete or otherwise resolve the partition litigation pending in

        Washington County or (ii), in consultation with the Plan Lender, make a determination that

        completion of the partition litigation is not practicable within a reasonable time and the Debtors

        should pursue, through a reservation of jurisdiction by this Court, the sale of the entire Cornell

        Property pursuant to Section 363(h) of the Bankruptcy Code. The criteria used by Debtors

        would include the length of time required to complete the proposed partition, the difficulty and

        expense involved in pursuing the partition if the co-owners of the Cornell Property oppose

        partition, appeal any judgment in the partition litigation, or if the co-owners otherwise try to

        block or thwart Debtors’ efforts to finalize the partition of the Cornell Property. For the

        avoidance of doubt, the Debtors’ agreement to referenced above will be sufficient to permit the

        funding of the Plan Loan and the payment of Claims as set forth in the Plan.

               The Debtors anticipate the $5.6 million in proceeds under the Plan Loan to be dedicated
        as set forth in Exhibit 3, Projected Use of Funds. One component of the Use of Funds is the

        reservation of $1.5 million (a) for completion of the partition litigation, (b) to complete the land

        use and entitlement process in Washington County, (c) if necessary, to prosecute an adversary

        proceeding under Section 363(h) of the Bankruptcy Code to obtain an order requiring the sale of

        the entire Cornell Property on the grounds that completion of the partition process will involve

        impracticable delays and obstruction, and (d) for initial design and development costs. The

        actual timing and content of any future development of the Cornell Property or any partitioned

        portion thereof will depend on how the above elements evolve. The payment of creditors’

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        claims under the Plan will be funded by the Plan Loan and will not await or be dependent upon

        the resolution of any of the elements of uncertainty described in this paragraph.

               The Debtors anticipate that the Plan Loan will be repaid at maturity by refinancing. If

        the Debtors are forced to seek relief under Section 363(h) of the Bankruptcy Code, the sale of the

        NW Cornell-owned as well as non-debtor interests in the Cornell Property will be sold. In this

        instance, the Plan Loan would be repaid with the proceeds of such sale.

               E.      EFFECT OF CONFIRMATION

                       1.      Binding Effect
               The treatment of, and consideration received by, holders of Allowed Claims and Interests
        pursuant to the Plan will be in full satisfaction of their respective Claims against or Interests in

        Debtors. The Confirmation Order shall bind Debtors and any Creditor, and discharge Debtors

        from any liability that arose before the Effective Date, as provided in Sections 524 and 1141 of

        the Bankruptcy Code, and any debt and liability of a kind specified in Sections 502(g), 502(h) or

        502(i) of the Bankruptcy Code, whether or not (1) a proof of claim based on such Creditor’s debt

        or liability is Filed or deemed Filed under Section 501 of the Bankruptcy Code, (2) a Claim

        based on such debt or liability is Allowed, or (3) the holder of the Claim based on such debt or

        liability has accepted the Plan.

                       2.      Revesting, Operation of Business
               Except for the Cornell Property, which will remain property of the estate of the NW

        Cornell bankruptcy until the Cornell Property Revesting Date, all property of the bankruptcy

        estates shall revest in each respective Reorganized Debtor on the Effective Date free and clear of

        all rights, claims, liens, charges, encumbrances, and interests, except as otherwise specifically

        provided in the Plan. Except as otherwise set forth in the Plan, there are no limitations or

        restrictions on the post-confirmation activities or operations of Debtors.




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                       3.        Injunction
               The effect of confirmation shall be as set forth in Section 1141 of the Bankruptcy Code.

        Except as otherwise provided in the Plan, prior order of the Bankruptcy Court, or in the
        Confirmation Order, confirmation of the Plan shall act as a permanent injunction applicable to

        entities against (1) the commencement or continuation, including the issuance or employment of

        process, of a judicial, administrative, or other action or proceeding of any kind against Debtors

        or Reorganized Debtors that was or could have been commenced before the entry of the

        Confirmation Order; (2) the enforcement, attachment, collection, or recovery against

        Reorganized Debtors or its assets of any judgment, award, decree, or order obtained before the

        Petition Date; (3) any act to obtain possession of or to exercise control over, or to create, perfect,

        or enforce a lien upon all or any part of the assets of Reorganized Debtors; (4) asserting any

        setoff, or right of subrogation or recoupment of any kind against any obligation due to Debtors,

        Reorganized Debtors, or their property; and (5) proceeding in any manner in any place

        whatsoever that does not conform to, does not comply with, or is inconsistent with the provisions

        of the Plan or the Confirmation Order. For the avoidance of doubt, the injunction referenced

        above shall be applicable to the matters set forth in Section IV. Neither the injunction nor any

        provision of the Plan prohibits or otherwise overrides the Stipulated Relief From Stay Order

        which allows the Marionthe Washington County Case to proceed to completion in state court
        including all appeals.

                       4.        Event of Default
               Any material failure by Reorganized Debtors to perform any term of the Plan, which

        failure continues for a period of fifteen Business Days following receipt by Reorganized Debtors

        of written notice of such default from the holder of an Allowed Claim to whom performance is

        due, shall constitute an Event of Default. Upon the occurrence of an Event of Default, the holder

        of an Allowed Claim to whom performance is due shall have all rights and remedies granted by

        law, the Plan or any agreement between the holder of such Claim and Debtors or Reorganized

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        Debtors. An Event of Default with respect to one Claim shall not be an Event of Default with

        respect to any other Claim.

                       5.      Modification of the Plan; Revocation or Withdrawal of the Plan
                Subject to Section 1127 of the Bankruptcy Code, Debtors reserves the right to alter,

        amend, modify, or withdraw the Plan before its substantial consummation so long as the

        treatment of holders of Claims and Interests under the Plan are not adversely affected.

                       6.      Retention of Jurisdiction
                Notwithstanding the entry of the Confirmation Order, the Court shall retain jurisdiction

        of this Chapter 11 Case pursuant to and for the purposes set forth in Section 1127(b) of the

        Bankruptcy Code and:

                               (a) to classify the Claim or interest of any Creditor or stockholder,

        reexamine Claims or Interests which have been owed for voting purposes and determine any

        objections that may be Filed to Claims or Interests,

                               (b) to determine requests for payment of Claims entitled to priority under

        Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of

        expenses in favor of professionals employed at the expense of the Estate,

                               (c) to avoid liens, transfers, or obligations or to subordinate Claims under

        Chapter 5 of the Bankruptcy Code,

                               (d) to approve the assumption, assignment or rejection of an executory

        contract or an unexpired lease pursuant to this Plan,

                               (e) to resolve controversies and disputes regarding the interpretation of

        this Plan,

                               (f) to implement the provisions of this Plan and enter orders in aid of

        confirmation, including an action by the Reorganized Debtors pursuant to Section 363(h) of the

        Bankruptcy Code brought prior to the Cornell Property Revesting Date,



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                                (g) to adjudicate adversary proceedings and contested matters pending or

        hereafter commenced in this Chapter 11 Case, and

                                (h) to enter a final decree closing this Chapter 11 proceeding.

                        7.      United States Trustee Fees
                Reorganized Debtors shall be responsible for timely payment of fees incurred pursuant to

        28 U.S.C. § 1930(a)(6) until the case is closed, converted, or dismissed. After confirmation,

        Reorganized Debtors shall serve on the United States Trustee a financial report for each quarter,

        or portion thereof, that the case remains open. The quarterly financial report shall include a

        statement of all disbursements made during the course of the quarter, whether or not pursuant to

        the Plan.

        VIII. LIQUIDATION ANALYSIS
                A Plan of Reorganization cannot be confirmed unless the Bankruptcy Court finds that the

        Plan is in the “best interest of creditors” or holders of Claims against, and Equity Security in,

        Debtors subject to such plan. The best interest test is satisfied if a plan provides each dissenting

        or non-voting member of each impaired Class with a recovery not less than the recovery such

        member would receive if each Debtor was liquidated in a hypothetical case under Chapter 7 of

        the Bankruptcy Code by a Chapter 7 Trustee. The Debtors are proposing to pay all creditors in

        full, and thus the best interest of creditors test is automatically satisfied.

                Despite the fact that the Debtors’ Plan of Reorganization proposes to pay all creditors in

        full and therefore satisfies best interest of creditors test, certain parties in interest have demanded

        that a liquidation analysis be provided. Attached as Exhibit 4 is a liquidation analysis provided

        by the Debtors. All asset values included in the liquidation analysis were based on the Debtors’

        opinions of value, based on Debtors’ familiarity with their properties, and Debtors’ experience in

        the area of commercial real estate. Parties in interest have asserted that the Debtors’ statements

        of value have been inconsistent, but Debtors assert that any differing valuation numbers were

        due, in part, to the difference in the time periods when valuation estimates were prepared.

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        Additionally, Debtors assert that inconsistency in valuation may also be due to differences in the

        type of valuation (i.e., liquidation vs. going concern value). The valuation estimates provided in

        the attached liquidation analysis are intended to be current fair market values as of the date of

        this disclosure statement.

        IX.    POSSIBLE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN
               CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN

        MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN
        ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

               The following discussion summarizes in general terms certain federal income tax

        consequences of the implementation of the Plan based upon existing provisions of the Internal

        Revenue Code of 1986, as amended (the “Internal Revenue Code”), court decisions, and current

        administrative rulings and practice. This summary does not address the federal income tax

        consequences of the Plan to holders of priority or secured claims, nor does it address any state,

        local or foreign tax matters or the federal income tax consequences to certain types of creditors

        (including financial institutions, life insurance companies, tax exempt organizations and foreign

        taxpayers) to which special rules may apply. No rulings or opinions have been or will be

        requested from the Internal Revenue Service with respect to any of the tax aspects of the Plan.

               THIS ANALYSIS DOES NOT ADDRESS THE TAX IMPLICATIONS OF THE PLAN
        TO ANY SPECIFIC CREDITOR. Substantial differences in the tax implications are likely to be

        encountered by the creditors because of the difference in the nature of their Claims, their

        taxpayer status, their method of accounting, and the impact of prior actions they may have taken

        with respect to their Claims.

               The following are the anticipated tax consequences of the Plan:

               A.      TAX CONSEQUENCES TO THE DEBTORS.
               The Debtors do not anticipate any extraordinary or unusual tax consequences because all

        claims are expected to be paid in full. Debtors will experience ordinary income from continued

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        operations and earnings and will be entitled to deduct business expenses for any business-related

        expenses and interest expense. Debtors do not anticipate any cancellation of debt income. In the

        event NW Cornell sells its real property, NW Cornell shall pay any applicable capital gains taxes

        that result from the sale.

                B.      GENERAL TAX CONSEQUENCES ON CREDITORS.
                        Creditors will likely not experience any unusual or extraordinary tax consequence

        following Confirmation of the Plan. Payments will be treated in the same manner as they were

        treated before Confirmation of the Plan. As discussed above, the effect of the Plan on specific

        creditors will depend on specific financial information relative to such creditor that is unknown

        to the Debtors. As a result, the tax implications to specific creditors cannot be completely

        described herein

                EACH INTEREST HOLDER IS URGED TO CONSULT SUCH INTEREST

        HOLDER’S OWN TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO

        SUCH HOLDER UNDER FEDERAL AND APPLICABLE STATE, LOCAL, AND FOREIGN

        TAX LAWS. DEBTORS AND DEBTORS’ COUNSEL EXPRESS NO OPINION AS TO THE

        TAX CONSEQUENCES OF THE PLAN OR THE EFFECT THEREOF ON ANY

        CLAIMANT.

        X.      ACCEPTANCE AND CONFIRMATION OF THE PLAN

                A.      CONFIRMATION HEARING
                The Bankruptcy Court has scheduled a hearing on confirmation of the Plan on

        _______________, 2020 at ____.m Pacific time. The hearing will be held at the U.S.

        Bankruptcy Court for the District of Oregon, 1050 SW 6th Avenue, 7th Floor, Portland, Oregon

        in Courtroom No. 3, before the Honorable David W. Hercher, United States Bankruptcy Judge.

        At that hearing, the Bankruptcy Court will consider whether the Plan satisfies the various

        requirements of the Bankruptcy Code, including whether it is feasible and whether it is in the

        best interest of Creditors and Interest holders of Debtors. Debtors will submit a report to the

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        Bankruptcy Court prior to the hearing concerning the votes for acceptance or rejection of the

        Plan by the parties entitled to vote thereon. Any objection to confirmation of the Plan must be

        timely filed on or before _______________, 2020 to be considered by the Court.

               B.      REQUIREMENTS OF CONFIRMATION
                       At the hearing on confirmation, the Bankruptcy Court will determine whether the

        provisions of Section 1129 of the Bankruptcy Code have been satisfied. If all of the provisions

        of Section 1129 are met, the Bankruptcy Court may enter an order confirming the Plan. Debtors

        believe the Plan satisfies all of the requirements of Chapter 11 of the Bankruptcy Code, that it

        has complied or will have complied with all of the requirements of Chapter 11, and that the Plan

        has been proposed and is made in good faith.

               C.      CRAMDOWN
               A Court may confirm a Plan, even if it is not accepted by all impaired classes, if the Plan

        has been accepted by at least one impaired class of claims and the Plan meets the cramdown

        requirements set forth in Section 1129(b) of the Bankruptcy Code. In the event any impaired

        Class of Claims does not accept the Plan, Debtor hereby requests the Bankruptcy Court to

        confirm the Plan in accordance with Section 1129(b) of the Bankruptcy Code or otherwise

        permit Debtors to modify the Plan.

               D.      FEASIBILITY
               Debtors believe that confirmation of the Plan is not likely to be followed by the

        liquidation of either of the Reorganized Debtors or a need for a further financial reorganization

        of Reorganized Debtors. Debtors believe they can obtain financing through the Plan Loan in an

        amount sufficient to pay all creditors in full. The timing of the payments to Creditors will

        depend on the timing of the closing and the availability of funds under the Plan Loan.

               E.      ALTERNATIVES TO CONFIRMATION OF THE PLAN
               If a Plan is not confirmed, Debtors or another party in interest may attempt to formulate

        or propose a different Plan or Plans of Reorganization. Such Plans might involve the sale of

Page 35 of   DEBTORFIRST AMENDED DEBTORS’S JOINT DISCLOSURE                            MOTSCHENBACHER & BLATTNER LLP
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        Dinihanian’s other assets, an orderly liquidation of NW Cornell’s assets, or any combination

        thereof. If no Plan of Reorganization is determined by the Bankruptcy Court to be confirmable,

        the Chapter 11 case may be converted to a liquidation proceeding under Chapter 7 of the

        Bankruptcy Code.

               In a liquidation, a Chapter 7 trustee would be appointed with the purpose of liquidating

        the assets of Debtors. Typically, in liquidation, assets are sold for less than their going concern

        value and, accordingly, the return to Creditors and Interest holders is less than the return in a

        reorganization, which derives the value to be distributed in a Plan from the business as a going

        concern. Proceeds from liquidation would be distributed to Creditors and Interest holders of

        Debtors in accordance with the priorities set forth in the Bankruptcy Code.

               Debtors believe there is no currently available alternative that would offer holders of

        Claims and Interests in Debtors greater than the Plan and urges all parties entitled to vote on the

        Plan to vote to accept the Plan.

        XI.    CONCLUSION
              Please read this Disclosure Statement and the Plan carefully. After reviewing all the

        information and making an informed decision, please vote by using the enclosed ballot.

              DATED this 31st13th day of JulyOctober 2020.

                                                 Respectfully submitted,




                                                 PERKINS COIE LLP




                                                 By /s/ Douglas Pahl
                                                    Douglas Pahl, OR Bar No. 950476
                                                    Of Attorneys for Debtor 15005 NW Cornell LLC


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                                      By /s/ Nicholas J. Henderson
                                         Nicholas J. Henderson, OSB No. 074027
                                             Of Attorneys for Debtor Vahan M. Dinihanian, Jr




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        EXHIBITS ATTACHED:
        Exhibit 1: Joint Plan of Reorganization


        Exhibit 2: Term Sheet


        Exhibit 3: Projected Use of Funds


        Exhibit 4: Liquidation Analysis




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Exhibit 3 -- Projected Use of Funds


Teherani‐Ami Claim                         $3,000,000
Creditors, unsecured                        $300,000
Creditors, admin                            $600,000
Loan Transaction Costs                       $35,000
Origination Fee                             $112,000
Underwriting Fee                              $15,000
Reserves / Future Development Costs        $1,500,000

Total Use of Funds                         $5,600,000

** Projections, subject to modification.




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Portland, OR 97209-4128
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Facsimile: 503.727.2222

      Of Attorneys for 15005 NW Cornell LLC



                     UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF OREGON

 In re:                                       Bankruptcy Case Nos.:

    15005 NW Cornell LLC; and                 19-31883-dwh11 (Lead Case)
    Vahan M. Dinihanian, Jr.,                 19-31886-dwh11

                      Debtors.                Jointly Administered Under
                                              Case No. 19-31883-dwh11

                                              FIRST AMENDED DEBTORS’ JOINT
                                              DISCLOSURE STATEMENT DATED
                                              OCTOBER 13, 2020




      FIRST AMENDED DEBTORS’ JOINT DISCLOSURE                              MOTSCHENBACHER & BLATTNER LLP
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       I.      INTRODUCTION AND SUMMARY

               A.     INTRODUCTION

               On May 21, 2019, 15005 NW Cornell LLC (“NW Cornell”) and Vahan M. Dinihanian,

       Jr. (“Dinihanian”), filed separate voluntary petitions under Chapter 11 of Title 11 of the United

       States Bankruptcy Code (the “Bankruptcy Code”). On October 18, 2019, NW Cornell and

       Dinihanian (collectively, the “Debtors”) filed this Disclosure Statement (the “Disclosure

       Statement”) with the U.S. Bankruptcy Court for the District of Oregon (the “Bankruptcy Court”)

       and their Joint Plan of Reorganization (the “Plan”). A copy of the Plan is attached hereto as
       Exhibit 1.

               This Disclosure Statement is being provided to you by Debtors to enable you to make an

       informed judgment about the Plan. This Disclosure Statement has been prepared to disclose

       information that in Debtors’ opinion is material, important, and helpful to evaluate the Plan.

       Among other things, this Disclosure Statement describes the manner in which Claims and Equity

       Securities will be treated. This Disclosure Statement summarizes the Plan, explains how the

       Plan will be implemented, outlines the risks of and alternatives to the Plan, and outlines the

       procedures involved in confirmation of the Plan. The description of the Plan contained in this

       Disclosure Statement is intended as a summary only and is qualified in its entirety by reference

       to the Plan itself. If any inconsistency exists between the Plan and this Disclosure Statement, the

       terms of the Plan shall control. You are urged to review the Plan and, if applicable, consult with

       your own counsel about the Plan and its impact on your legal rights before voting on the Plan.

               Capitalized terms used but not defined in this Disclosure Statement shall have the

       meanings assigned to such terms in the Plan or the Bankruptcy Code. Factual information

       contained in this Disclosure Statement is the representation of Debtors only and not of their

       attorneys, consultants, or accountants. The information has been obtained from the books and

       records of Debtors as well as other sources deemed reliable. Debtors have prepared the

       information contained herein in good faith, based on information available to Debtors. The

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       information herein has not been subject to a verified audit. No representation concerning

       Debtors or the Plan is authorized by Debtors other than as set forth in this Disclosure Statement.

               The statements contained in this Disclosure Statement are made as of the date hereof,

       unless another time is specified herein, and the delivery of this Disclosure Statement shall not

       imply that there has been no change in the facts set forth herein since the date of this Disclosure

       Statement and the date the material relied on in preparation of this Disclosure Statement was

       compiled.

               This Disclosure Statement may not be relied on for any purpose other than to determine
       how to vote on the Plan. Nothing contained herein shall constitute an admission of any fact or

       liability by any party or be admissible in any proceeding involving Debtors or any other party or

       be deemed advice on the tax or other legal effects of the Plan on the holders of Claims or Equity

       Securities.

               This Disclosure Statement has been approved by Order of the Bankruptcy Court as

       containing information of a kind and in sufficient detail to enable a hypothetical reasonable

       investor typical of holders of Claims or Interests of the relevant classes to make an informed

       judgment concerning the Plan. The Bankruptcy Court’s approval of this Disclosure Statement,

       however, does not constitute a recommendation by the Bankruptcy Court either for or against the

       Plan.

               The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to commence

       on _______________, 2020 at _____ Pacific time. That hearing will be held at the

       U.S. Bankruptcy Court for the District of Oregon, 1050 SW 6th Ave., 7th Floor, Courtroom 3,

       Portland, Oregon 97204, before the Honorable David W. Hercher. The hearing on confirmation

       may be adjourned from time to time by the Bankruptcy Court without further notice except for

       an announcement made at the hearing on any adjournment thereof.

               A ballot has been enclosed with this Disclosure Statement for use in voting on the Plan.

       In order to be tabulated for purposes of determining whether the Plan has been accepted or

Page 2 of 37   FIRST AMENDED DEBTORS’ JOINT DISCLOSURE                                   MOTSCHENBACHER & BLATTNER LLP
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       rejected, ballots must be received at the address indicated on the ballot no later than 4:00 p.m. on

       ________, 2020. Debtors believe that confirmation of the Plan is in the best interests of the

       holders of Claims and urge you to accept the Plan.

               This Disclosure Statement contains financial information and estimates that demonstrate

       the feasibility of the Plan of Reorganization and Debtors’ ability to complete the steps envisioned

       by the Plan and the Plan Loan upon emergence from Bankruptcy. Debtors prepared such

       information for the limited purpose of furnishing information to Creditors to allow them to make

       an informed judgment regarding acceptance of the Plan of Reorganization. The estimates of

       value should not be regarded for the purpose of this Disclosure Statement as representations or

       warranties by Debtors as to the accuracy of such information or that any such projections or

       valuations will be realized. Actual values could vary significantly from these projections.

               B.     SUMMARY OF THE PLAN

               A copy of the Plan is attached and discussed in detail later in this Disclosure Statement.

       The following description of the Plan is intended as a summary only and is qualified in its

       entirety by reference to the Plan. Debtors urge each holder of a Claim to carefully review the

       entire Plan, together with this Disclosure Statement, before voting on the Plan.

                      1.      General

               Generally, the Plan provides that Debtors will operate in the ordinary course and will

       obtain financing to pay and satisfy their obligations in full.

                      2.      Secured Creditors

               Reorganized Dinihanian’s secured Creditor, Columbia State Bank (“Columbia”), will be

       paid the full amount of its Allowed Secured Claims in accordance with the existing terms of its

       loans to Dinihanian, except as modified under the Plan with respect to certain loan terms and

       covenants set forth in the Plan.




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               Reorganized Dinihanian’s secured Creditor, Tasha Teherani-Ami, will be paid on the

       Effective Date the full amount of her Allowed Secured Claim with interest as stated in the

       Divorce Judgment and actual costs and reasonable attorney fees.

               Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

       prepetition counsel Bateman Seidel and Daniel Lorenz in the face amount of $250,000 as

       security for legal fees advanced by such counsel.

                      3.      General Unsecured Creditors

               All General Unsecured Creditors will be paid in full, together with interest at the federal
       judgment rate in effect on the Effective Date, from and after the Effective Date, not later than six

       months after the Effective Date.

                      4.      Equity Interests

               The Plan provides that existing equity interests in NW Cornell, including that of the

       Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”), will be left in place. The Plan provides

       that Dinihanian will retain his interests in assets of his bankruptcy estate.

                      5.      Leases and Executory Contracts

               All unexpired leases and executory contracts will be assumed by the respective Debtors

       through the Plan unless such unexpired leases and executory contracts have previously been

       assumed and assigned or rejected, or a motion seeking their assumption or rejection has been

       Filed before the Confirmation Date.

                      6.      Effective Date

               The Effective Date of the Plan shall be the later of (a) the eleventh day following entry of

       the Confirmation Order and (b) the first business day following the entry of an order by the

       Bankruptcy Court establishing the reasonable attorney fees and costs for the Class 1 Claim.




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                       7.      Cramdown Election

               In the event any Class does not accept the Plan, Debtors reserve the right to request that

       the Bankruptcy Court confirm the Plan in accordance with Section 1129(b) of the Bankruptcy

       Code or otherwise modify the Plan.

               C.      BRIEF EXPLANATION OF CHAPTER 11

               Chapter 11 is the principal reorganization provision of the Bankruptcy Code. Pursuant to

       Chapter 11, a debtor attempts to reorganize its business for the benefit of Debtor, its creditors,

       and other parties in interest.
               The formulation and confirmation of a plan of reorganization is the principal purpose of a

       Chapter 11 case. A plan of reorganization sets forth the method for compensating the holders of

       claims and interests in a debtor. If a plan is confirmed by the Bankruptcy Court, it will be

       binding on a debtors, its creditors, and all other parties in interest. A claim or interest is impaired

       under a plan of reorganization if the plan provides that the legal, equitable, or contractual rights

       of the holder of such claim or interest are altered. A holder of an impaired claim or interest is

       entitled to vote to accept or reject the plan. Chapter 11 does not require all holders of claims and

       interests to vote in favor of a plan in order for the Bankruptcy Court to confirm it. However, the

       Bankruptcy Court must find that the plan meets a number of statutory tests before it may approve

       the plan. These tests are designed to protect the interests of holders of claims or interests who do

       not vote to accept the plan, but who will nonetheless be bound by the plan’s provisions if it is

       confirmed by the Bankruptcy Court.

               An Unsecured Creditors’ Committee was not appointed by the U.S. Trustee’s office in

       this case pursuant to 11 U.S.C. §§ 1102(a) and (b).

       II.     VOTING PROCEDURES AND CONFIRMATION OF PLAN

               A.      BALLOTS AND VOTING DEADLINE

               A ballot to be used for voting to accept or reject the Plan is enclosed with each copy of

       this Disclosure Statement. After carefully reviewing this Disclosure Statement and its exhibits,

Page 5 of 37   FIRST AMENDED DEBTORS’ JOINT DISCLOSURE                                     MOTSCHENBACHER & BLATTNER LLP
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       including the Plan, please indicate your acceptance or rejection of the Plan by voting in favor or

       against the Plan on the enclosed ballot as directed below.

               The Bankruptcy Court has directed that, to be counted for voting purposes, ballots for the

       acceptance or rejection of the Plan must be received by Debtors no later than 4:00 p.m. Pacific

       time on _______, 2020 at the following address:

                              Motschenbacher & Blattner LLP
                              Attention: Nicholas J. Henderson
                              117 SW Taylor Street, Suite 300
                              Portland, OR 97204-2099
       or via facsimile transmission to Nicholas J. Henderson at (503) 417-0528.

               Holders of each Claim scheduled by Debtors or for which a Proof of Claim has been

       Filed will receive ballots and are permitted to vote based on the amount of the Proof of Claim,

       except as discussed below. If no Proof of Claim has been Filed, then the vote will be based on

       the amount scheduled by Debtors in their Schedules. The Bankruptcy Code provides that such

       votes will be counted unless the Claim has been disputed, disallowed, disqualified, or suspended

       prior to computation of the vote on the Plan. A Claim to which an objection has been Filed is

       not allowed to vote unless and until the Bankruptcy Court rules on the objection. Holders of

       disputed Claims who have settled their dispute with Debtors are entitled to vote the settled

       amount of their Claim. The Bankruptcy Code and rules provide that the Bankruptcy Court may,

       if timely requested to do so by the holder of such Claim, estimate or temporarily allow a disputed

       Claim for the purposes of voting on the Plan.

               If a person holds Claims in more than one Class entitled to vote on the Plan, such person

       will be entitled to complete and return a ballot for each Class. If you do not receive a ballot or if

       a ballot is damaged or lost, please contact:

                              Motschenbacher & Blattner LLP
                              Attention: Nicholas Henderson
                              117 SW Taylor Street, Suite 300
                              Portland, OR 97204-2099
                              (503) 417-0508


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               All persons entitled to vote on the Plan may cast their vote for or against the Plan by

       completing, dating, and signing the enclosed ballot and returning it, by First Class mail or hand

       delivery, to Debtors at the address indicated above. In order to be counted, all ballots must be

       executed and received at the above address no later than 4:00 p.m. Pacific time on _______,

       2020. Any ballots received after 4:00 p.m. Pacific time on _____, 2020 will not be included in

       any calculation to determine whether the parties entitled to vote on the Plan have voted to accept

       or reject the Plan.

               Ballots may also be received by Debtors by facsimile transmission to Motschenbacher &

       Blattner LLP, Attention: Nicholas J. Henderson, at (503) 417-0501. Ballots sent by facsimile

       transmission will be counted if faxed to Mr. Henderson and received by 4:00 p.m. Pacific time

       on _______, 2020.

               When a ballot is signed and returned without further instruction regarding acceptance or

       rejection of the Plan, the signed ballot shall be counted as a vote accepting the Plan. When a

       ballot is returned indicating acceptance or rejection of the Plan but is unsigned, the unsigned

       ballot will not be included in any calculation to determine whether parties entitled to vote on the

       Plan have voted to accept or reject the Plan. When a ballot is returned without indicating the

       amount of the Claim or an amount different from a timely Filed Proof of Claim, then the amount

       shall be as set forth on Debtor’s Schedules or any timely Proof of Claim Filed with respect to

       such Claim or Order of the Bankruptcy Court.

               B.      PARTIES ENTITLED TO VOTE

               Pursuant to Section 1126 of the Bankruptcy Code, each Class of impaired Claims or

       Equity Security Holders that is not deemed to reject the Plan is entitled to vote to accept or reject

       the Plan. Any holder of an Allowed Claim that is in an impaired Class under the Plan, and

       whose Class is not deemed to reject the Plan, is entitled to vote. A Class is “impaired” unless the

       legal, equitable, and contractual rights of the holders of Claims in that Class are left unaltered by

       the Plan or if the Plan reinstates the Claims held by members of such Class by (a) curing any

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       defaults; (b) reinstating the maturity of such Claim; (c) compensating the holder of such Claim

       for damages that result from the reasonable reliance on any contractual provision or law that

       allows acceleration of such Claim; and (d) otherwise leaving unaltered any legal, equitable, or

       contractual right of which the Claim entitles the holder of such Claim. Because of their

       favorable treatment, Classes that are not impaired are conclusively presumed to accept the Plan.

       Accordingly, it is not necessary to solicit votes from the holders of Claims in Classes that are not

       impaired. Classes of Claims or Interests that will not receive or retain any money or property

       under a Plan on account of such Claims or Interests are deemed, as a matter of law under
       Section 1126(g) of the Bankruptcy Code, to have rejected the Plan and are likewise not entitled

       to vote on the Plan. All Classes of Claims are impaired under Debtor’s Plan except the Class 1

       and Class 5 Claims of secured Creditor Tasha Teherani-Ami.

               C.     VOTES REQUIRED FOR CLASS ACCEPTANCE OF THE PLAN

               As a condition to confirmation, the Bankruptcy Code requires that each impaired Class of

       Claims or Interests accept the Plan, subject to the exceptions described below in the section

       entitled “Cramdown of the Plan.” In a “Cramdown,” at least one impaired Class of Claims must

       accept the Plan in order for the Plan to be confirmed.

               For a Class of Claims to accept the Plan, Section 1126 of the Bankruptcy Code requires

       acceptance by Creditors that hold at least two-thirds in dollar amount and a majority in number

       of the Allowed Claims of such Class, in both cases counting only those Claims actually voting to

       accept or reject the Plan. The holders of Claims who fail to vote are not counted as either

       accepting or rejecting the Plan. If the Plan is confirmed, the Plan will be binding with respect to

       all holders of Claims and Interests in each Class, including Classes and members of Classes that

       did not vote or that voted to reject the Plan.

               D.     “CRAMDOWN” OF THE PLAN

               If the Plan is not accepted by all of the impaired Classes of Claims and Interests of

       Debtors, the Plan may still be confirmed by the Bankruptcy Court pursuant to Section 1129(b) of

Page 8 of 37   FIRST AMENDED DEBTORS’ JOINT DISCLOSURE                                   MOTSCHENBACHER & BLATTNER LLP
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       the Bankruptcy Code’s “Cramdown” provision if the Plan has been accepted by at least one

       Impaired Class of Claims, without counting the acceptances of any Insiders of Debtor, and the

       Bankruptcy Court determines, among other things, that the Plan “does not discriminate unfairly”

       and is “fair and equitable” with respect to each non-accepting impaired Class of Claims or

       Interests. Debtors believe the Plan can be confirmed even if it is not accepted by all impaired

       Classes of Claims and hereby request the Bankruptcy Court to confirm the Plan in accordance

       with Section 1129(6) of the Bankruptcy Code or otherwise modify the Plan in the event any

       Class of Creditors does not accept the Plan.
               E.     CONFIRMATION HEARING

               The Bankruptcy Court has scheduled a hearing on confirmation of the Plan to commence

       on _____, 2020, at __ a.m. Pacific time. The confirmation hearing will be held at the

       U.S. Bankruptcy Court for the District of Oregon, Courtroom 3, 1050 SW 6th Avenue, 7th Floor

       Portland, Oregon, before the Honorable David W. Hercher, United States Bankruptcy Judge. At

       the hearing, the Bankruptcy Court will consider whether the Plan satisfies the various

       requirements of the Bankruptcy Code, including whether it is feasible and whether it is in the

       best interests of the Creditors of Debtors. Prior to the hearing, Debtors will submit a report to the

       Bankruptcy Court concerning the votes for acceptance or rejection of the Plan by the persons

       entitled to vote thereon.

               Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to

       confirmation of the Plan. Any objections to confirmation of the Plan must be made in writing

       and Filed with the Bankruptcy Court and received by counsel for Debtors no later than 4:00 p.m.

       Pacific time on _______, 2020. Unless an objection to confirmation is timely Filed and received,

       it will not be considered by the Bankruptcy Court.




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    III.   COMPANY BACKGROUND AND GENERAL INFORMATION

           A.      DEBTORS

           NW Cornell is a manager-managed Oregon limited liability company owned equally by

    Eagle Holdings LLC and the Trust, which also asserts an equitable interest in the real property

    owned by NW Cornell, although such ownership is disputed. Dinihanian is the manager of NW

    Cornell and is authorized to take all actions on its behalf. Dinihanian is an individual residing in

    the State of Oregon and is the sole member and manager of Eagle Holdings, LLC. NW Cornell’s

    primary asset is its 50 percent tenant-in-common ownership interest in 37 acres of undeveloped
    real property located at 15005 NW Cornell Road, Beaverton, Oregon.

           B.      DINIHANIAN’S BUSINESSES

           Prior to the filing of the Bankruptcy Cases, Dinihanian’s principal business was operating

    Eagle Holdings, LLC, which owns other real estate-centered limited liability companies and

    engages in enterprises regarding motor vehicles, the production of mechanical parts, and

    property management. Dinihanian intends to continue operating Eagle Holdings and its entities

    under their existing business models.

           C.      MANAGEMENT OF NW CORNELL.

           Reorganized NW Cornell will consist of the same owners and management as currently

    exists. NW Cornell does not have any employees. Depending on the path pursued under the

    Plan, NW Cornell will continue to own a 50 percent tenant-in-common interest in the Cornell

    Property, develop the Cornell Property in cooperation with non-debtor tenant-in-common

    owners, or it will possess the net proceeds from the sale of its interest in the property.

           D.      WASHINGTON COUNTY LITIGATION

           NW Cornell is the plaintiff in 15005 NW Cornell, LLC v. Cornell Rd. LLC, et al., Case

    No. 18CV17059, pending in the Circuit Court for the State of Oregon for Washington County.

    NW Cornell commenced the partition proceeding because the other tenant-in-common owners of

    the Cornell Property would not cooperate in the development of the property or consent to NW

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    Cornell borrowing against its interest in the property. The Washington County court in a

    memorandum opinion indicated that partitioning is an appropriate remedy, although it would

    require additional time-consuming land use master-planning procedures prior to such a partition

    being determined. No further action has occurred in the Washington County court after the

    Petition Date due to the fact that parties have opposed NW Cornell’s applications to employ

    counsel for that action.

    IV.    EVENTS LEADING TO THE BANKRUPTCY FILING

                   Debtors’ bankruptcy filings were precipitated by the scheduled foreclosure sales
    of the Skyline Property and the Cornell Property initiated by Creditor Tasha Teherani-Ami

    (“Teherani-Ami”) based on deeds of trust recorded on both properties as provided in the General

    Judgment of Dissolution of Marriage (the “General Judgment”) entered in the divorce case

    involving Teherani-Ami and Dinihanian, Multnomah County Circuit Court Case No. 1208-

    68730 (the “Divorce Case”). In the General Judgment obligated Dinihanian to make a

    significant settlement payment to Teherani-Ami in January 2018, and that payment was secured

    by the deeds of trust. When Dinihanian was unable to make that payment, Teherani-Ami

    initiated foreclosure proceedings on both the Skyline and the Cornell Property. In addition,

    Teherani-Ami filed an action compel Dinihanian to execute a deed, on behalf of NW Cornell, to

    half of NW Cornell’s tenant-in-common interest in the Cornell Property or be held in contempt

    (Multnomah County Circuit Court Case No. 19-CN01457) (the “Contempt Proceeding”).

                   Debtors had and continue to have insufficient funds with which to pay their

    creditors until the Cornell Property is sold or until Debtors can obtain financing secured by NW

    Cornell’s interest in the Cornell Property and Dinihanian’s interest in the Skyline Property, or

    both. As a result, Debtors were unable to avoid the imminent risks of foreclosure or the transfer

    of half of NW Cornell’s interest in the Cornell Property and filed for Chapter 11 bankruptcy

    protection to prevent the loss of significant value in the Cornell Property and Skyline Property.



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    V.     SIGNIFICANT POST-PETITION EVENTS

           Debtors obtained an order to lift the automatic stay to reengage in the Washington

    County partition litigation. Debtors have not pursued that litigation for various reasons,

    primarily because the application to employ partition counsel has been blocked in the

    Bankruptcy Cases. Debtors have invested extensive efforts to arrange financing to finance the

    payments of Claims and facilitate the incremental development of some or all of the Cornell

    Property. Such financing has been arranged through lender SORFI, LLC, an affiliate of Sortis

    Capital (the “Plan Lender”) and the Plan Loan described in the Plan.1 The term sheet describing

    the Plan Loan’s terms is attached as Exhibit 2 hereto. Under the term sheet, Debtors will be

    obligated to grant Sortis Real Estate, LLC, an affiliate of the Plan Lender, a right of first refusal

    to serve as the listing broker to market and sell NW Cornell’s rights, title and interest in the

    Cornell Property should the listing and marketing of NW Cornell’s tenant-in-common interests

    become necessary and appropriate following Plan confirmation.

           Debtors have otherwise devoted the bulk of their efforts since the petition date preparing

    and proposing a plan of reorganization and disclosure statement and plan and then engaging in

    numerous rounds of mediation with Tasha Teherani-Ami, in her individual capacity and as

    trustee for the Trust, as well as the other tenant-in-common owners of the Cornell Property. To

    date, these efforts have been unsuccessful in reaching a resolution, leading Debtors to file and

    seek confirmation of the present Plan.


    1
      Debtors already have an indirect lender-borrower relationship. SORFI, LLC loaned 933
    Harrison Blvd., LLC (“933 LLC”) the amount of $1,250,000 in early 2020, to refinance 933
    LLC’s mortgage debt that had matured. The SORFI loan to 933 LLC was guaranteed by Eagle
    Holdings, LLC, but was not personally guaranteed by either of the Debtors. Dinihanian asserts
    that 100% of the outstanding membership interest in 933 LLC is owned by Eagle Holdings,
    LLC, a single member LLC in which Dinihanian owns 100% of the membership interest.
    Certain parties in interest dispute Dinihanian’s assertions that Eagle Holdings owns 933 LLC,
    and allege that Dinihanian owns 933 LLC directly. Debtors believe this distinction is inaccurate,
    and, more importantly, Debtors believe that the distinction is irrelevant given that (i) Debtors’
    Plan proposes to pay 100%, and (ii) Dinihanian’s liquidation analysis includes the value of 933
    LLC and its assets.
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           In addition, the Trust has filed an adversary proceeding (Adv. Pro. No. 20-03077) (the

    “Trust Complaint”) seeking a declaratory judgment to enforce the terms of the Stipulated

    Judgment, specifically with respect to its asserted right to a deed from NW Cornell to a twenty-

    five percent tenant-in-common interest in the Cornell Property. The Trust also filed a proof of

    claim in the NW Cornell case (Claim 5-1, the “Claim”). NW Cornell has objected [Dkt. 258] to

    the Claim on various grounds, filed an answer to the Trust Complaint, and filed an adversary

    proceeding (Adv. Pro. No. 20-03079) (the “Cornell Avoidance Action”), to which the Trust has

    filed an answer.
           NW Cornell instituted an adversary proceeding (Adv. Pro. No. 19-03096) (the “Teherani-

    Ami Adversary”) against Teherani-Ami to avoid the Deed of Trust on the grounds that it

    constituted a fraudulent transfer. In light of the full payment provided for the Teherani-Ami

    Claim under the Plan, the Debtors will seek to abate the Teherani-Ami Adversary.

           A.      EMPLOYMENT OF PROFESSIONALS

           NW Cornell has retained Perkins Coie LLP as its general counsel in the NW Cornell

    Bankruptcy Case. Dinihanian has retained Motschenbacher & Blattner LLP as his general

    counsel in the Dinihanian Bankruptcy Case. Dinihanian also sought and obtained Bankruptcy

    Court approval for the employment of Delap as his accountant. NW Cornell has sought the

    approval for the employment of Bateman Seidel to serve as ordinary course counsel in the

    partition litigation, although no order has been entered by the Court due to objections asserted by

    the Trust and the partition litigation has therefore been unable to proceed.

    VI.    ASSETS AND LIABILITIES

           A.      ASSETS

                   1.      NW Cornell’s Real Property

           As described above, NW Cornell’s principal asset is a fifty-percent tenant-in-common

    interest in the Cornell Property, which is a 37-acre parcel located at 15005 NW Cornell Road,

    Beaverton, Oregon. NW Cornell estimates that the value of its half interest in the Cornell

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    Property was approximately $13,500,000 as of the Petition Date. This is supported by a broker’s

    price opinion dated February 26, 2019. It is difficult to assess what impact the pandemic

    currently afflicting the United States will have on the value of the Cornell Property or other

    properties in the greater Portland area. The non-debtor tenant-in-common owners are limited

    liability companies owned by Dinihanian’s sister, Lillian Logan, and her two adult children.

    They assert that NW Cornell lacks the authority to enter into the Plan Loan, and that entering

    into the Plan Loan will, through an unauthorized transfer or otherwise, create a multi-million-

    dollar damages claim in favor of the non-debtor tenant-in-common owners under the tenant-in-
    common agreement. NW Cornell asserts that it has the authority to enter into the Plan Loan

    pursuant to Section 8 of the tenant-in-common agreement without violating any other provision

    of the agreement or creating a damages claim.

                    2.     Dinihanian’s Real Property

             Dinihanian owns real property and improvements at 237 NW Skyline, in Portland

    Oregon. The Skyline Property is Mr. Dinihanian’s residence, as well as the location where Mr.

    Dinihanian conducts the business activities of Eagle Holdings. Dinihanian estimates that the

    total value of the residence was approximately $1,000,000 as of the Petition Date.

                    3.     Personal Property

             As of the Petition Date, NW Cornell owns very few items of personal property. As of the

    Petition Date, Dinihanian’s hard assets consisted of miscellaneous household goods and

    furnishings. Dinihanian also had checking accounts and brokerage accounts. Dinihanian also

    owns all membership interests in Eagle Holdings, LLC, which in turn owns stock or membership

    interests in various entities that own commercial real estate. Dinihanian owns a half interest with

    his sister, Lillian Logan, in a cabin located in Welches, Oregon. A list of Dinihanian’s assets can

    be found in Dinihanian’s Amended Schedule A/B [ECF No. 60] (Dinihanian Case)2. The


    2
        References to the “Dinihanian Case” refer to Bankruptcy Case No. 19-31886-dwh11.
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    combined net values of Dinihanian’s assets, including Eagle Holdings and the various stock or

    membership interests it owns, and the Welches cabin, fall far short of the funds necessary to pay

    the Claims and other amounts required to be paid under the Plan.

           Dinihanian also has potential tort claims (potentially as derivative claims) against Lillian

    Logan, related to allegations of breach of fiduciary duty and oppression in connection with

    Dinihanian Floral Products, Inc., which is jointly owned by Dinihanian and Ms. Logan.

           B.       LIABILITIES

                    1.    Tasha Teherani-Ami
           Pursuant to the Divorce Judgment, Dinihanian owes Tasha Teherani-Ami $2,250,000,

    plus accrued interest at 4.5% per annum from the date of the Divorce Judgment, until paid, as

    well as actual and reasonable costs and attorney fees. The Divorce Judgment is secured by a

    Residential Trust Deed against the Skyline Property and by a deed of trust against NW Cornell’s

    interest in the Cornell Property. NW Cornell has commenced an adversary proceeding to avoid

    the transfer by which the deed of trust against the Cornell Property was delivered to Ms.

    Teherani-Ami.

                    2.    Bateman Seidel and Daniel Lorenz Trust Deed Claims

           Dinihanian executed one or more trust deeds encumbering the Skyline Property in favor

    prepetition counsel Bateman Seidel and Daniel Lorenz in the face amount of $250,000 as

    security for legal fees advanced by such counsel.

                    3.    Columbia Bank

           Dinihanian owes Columbia Bank in connection with an equipment loan, and a real estate

    loan for commercial properties owned by two limited liability companies he controls.

    Dinihanian also has executed personal guaranties in connection with other loans made by

    Columbia Bank to entities controlled by Mr. Dinihanian.




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                   4.      Unsecured Creditors

           The total amount of Unsecured Claims scheduled by Dinihanian is approximately

    $976,654. This amount includes the Columbia Bank claims described above. This amount does

    not include claims made by Lillian Logan [See Claim No. 4; Case No. 19-31886-dwh11].

                   5.      Trust Claim

           The Sonja Dinihanian GST Trust DTS 1/1/11 (the “Trust”) seeks the immediate transfer

    of a deed to half of NW Cornell’s undivided tenant-in-common interest in the Cornell Property

    in exchange for redemption of the Trust’s half membership interest in NW Cornell, pursuant to
    the Divorce Judgment and as set forth in late-filed Claim No. 6. NW Cornell has commenced an

    adversary proceeding to avoid any obligation to make such a transfer of half of its assets or, to

    the extent such a transfer is deemed to have occurred without an executed deed, to avoid such a

    deemed transfer.

                   6.      Other Asserted Hypothetical Claims

           The co-owners of the Cornell Property have asserted arguments that they may be injured

    and suffer damages if (1) NW Cornell’s TIC interest in the Cornell Property is transferred as a

    result of foreclosure of the proposed Plan Loan; or (2) the entire Cornell Property is ultimately

    sold as a whole pursuant to Section 363(h) of the Bankruptcy Code. The co-owners argue that

    either type of transfer would result in a breach of the Tenancy in Common Agreement between

    NW Cornell and the co-owners. Further, in the event that a sale of the entire Cornell Property is

    sold pursuant to 11 U.S.C. § 363(h), the co-owners argue they may be damaged because the sale

    would result in taxable gains, which would impose tax liabilities upon them that would not exist

    but for a sale of the entire Cornell Property. Debtors deny the co-owners’ arguments that

    Debtors would be liable under either scenario, for the reasons set forth below.

                           a.     Foreclosure of Plan Loan

           First, in the event that NW Cornell’s TIC interest in the Cornell Property is transferred as

    a result of foreclosure of the Plan Loan, the transfer would be an authorized transfer. The

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    Tenancy in Common Agreement is written to preserve each co-owner’s ability to pursue a 1031

    exchange with respect to their prospective interests in the Cornell Property. Specifically, the

    Tenancy in Common Agreement is written in compliance with IRS Rev. Proc. 2002-22 in at least

    the following ways in that it:

                • Provides that the title to the Cornell Property as a whole may not be held as an

                entity under state law (TIC Agreement, ¶ 1);

                • Provides that the co-ownership may not file a partnership or corporate tax return

                (TIC Agreement); •         Indicates that each co-owner may encumber its share of the
                Cornell Property (TIC Agreement, ¶ 8);

                • Indicates that each co-owner may transfer its respective interest in the Cornell

                Property, subject only to a right of first refusal in favor of the other co-owners (TIC

                Agreement, ¶ 10(a)).

           Because these provisions are present in the Tenancy In Common Agreement, Debtors

    believe that the co-owners arguments are misplaced. Because the agreement authorizes NW

    Cornell to encumber its TIC Interest, the agreement implicitly consents to the risk that NW

    Cornell’s interest may be transferred through foreclosure in the event of a default. Moreover, if

    the Debtors default on the Plan Loan after confirmation and funding of such loan, notice of any

    potential foreclosure sale can be provided to the co-owners in compliance with Section 10(b) of

    the TIC Agreement. Such notice would provide the co-owners the opportunity to purchase NW

    Cornell’s TIC Interest prior to foreclosure. In the event that the co-owners fail to elect to

    purchase NW Cornell’s TIC Interest, the TIC Agreement explicitly authorizes a transfer. In the

    event that Debtors are wrong about this position, and if foreclosure of the Plan loan would result

    in a breach of the TIC Agreement, there is a risk that the Debtors will be liable to the co-owners,

    which could diminish the amount of Debtors’ equity. Debtors believe the risk to creditors is

    minimal, because claims will have already been paid under the Plan prior to any potential

    foreclosure. Thus, the majority of the risk is borne by Debtors themselves.

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                               b.      Sale of Entire Cornell Property

                       In the event of a sale of the entire property, Debtors believe the TIC co-owners

       would not have any claim against the Debtors, for breach of the TIC Agreement or otherwise.

       First, Debtors do not believe there is any controlling authority indicating that they bear any

       liability to the co-owners if Debtors successfully prove the elements of a claim under § 363(h).

       Second, Debtors believe the co-owners would be provided sufficient notice to enable them to

       minimize their respective taxes through a 1031 exchange, completely mitigating any potential

       damages. Finally, as is described above regarding foreclosure, co-owners would be provided
       notice of any potential sale of the entire property, and they would therefore have the ability to

       make an offer to purchase the Cornell Property, or even just NW Cornell’s TIC Interest. There is

       a risk that, if Debtors are incorrect in these arguments, that the equity Debtors will receive after a

       sale will be reduced by the amount of damages they are required to pay the co-owners. Debtors

       believe the risk to creditors is minimal, because claims will have already been paid under the

       Plan prior to any potential foreclosure. Thus, the majority of the risk is borne by Debtors

       themselves.

       VII.    DESCRIPTION OF PLAN

               A.      SOLICITATION AND CLASSIFICATION AND TREATMENT OF
                       CLAIMS AND EQUITY SECURITIES
                       1.      General

               Pursuant to Section 1123(a)(1) of the Bankruptcy Code, a Plan of Reorganization must

       designate classes of Claims and classes of interest. The Plan classifies all Claims and Interests

       into 13 classes. The classification of Claims and Interests is made for the purpose of voting on

       the Plan and making distributions thereunder, and for ease of administration of the Plan. A

       Claim or Interest is classified in a particular Class only to the extent the Claim or Interest

       qualifies within the description of that Class and is classified in a different Class to the extent the

       Claim or Interest qualifies within the description of such different Class. A Claim or Interest is

       entitled to vote in a particular Class and to receive distributions in such Class only to the extent
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    such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not been

    paid prior to the Effective Date. Under the Plan, a Claim or Interest is an Allowed Claim

    against, or an Allowed Interest in, Debtor to the extent that (a) a proof of the Claim or Interest

    was (1) timely Filed, or (2) deemed Filed under applicable law by reason of an order of the

    Bankruptcy Court; or (b) scheduled by Debtor on its Schedules of Liabilities as neither

    contingent, unliquidated, or disputed; and (c) (i) no party in interest has Filed an objection within

    the time fixed by the Bankruptcy Court, (ii) the Claim or Interest is allowed by Final Order; or

    (iii) with respect to an application for compensation or reimbursement of an Administrative
    Expense Claim, the amount of the Administrative Expense Claim has been approved by the

    Bankruptcy Court.

                   2.      Unclassified Claims

           Administrative Expense Claims and Priority Tax Claims are not classified. An

    Administrative Expense Claim is a Claim against Debtors constituting an expense of

    administration of the Bankruptcy Case allowed under Section 503(b) of the Bankruptcy Code

    including, without limitation, the actual and necessary costs and expenses of preserving the

    estate and operating Debtors’ business during the Bankruptcy Case; claims for the value of goods

    received by Debtors within 20 days before the Petition Date sold in the ordinary course of

    business; any indebtedness or obligations incurred by Debtors during the pendency of the

    Bankruptcy Case in connection with the provision of goods or services to Debtors; compensation

    for legal and other professional services and reimbursement of expenses; and statutory fees

    payable to the U.S. Trustee.

           A “Priority Tax Claim” is a Claim of a governmental unit of the kind entitled to priority

    under Section 507(a)(8) of the Bankruptcy Code or that would otherwise be entitled to priority

    but for the Secured status of the Claim. Each holder of an Allowed Priority Tax Claim shall be

    paid by Reorganized Debtors, within 30 days following the Effective Date or the date the Claim

    is Allowed, whichever is sooner, the full amount of its Allowed Priority Tax Claim as allowed by

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    11 U.S.C. § 1129(a)(9)(C) and (D). The IRS has Filed a Priority Tax Claim against Dinihanian

    in the amount of $6,084.70

           Pursuant to the Plan of Reorganization, Administrative Expense Claims will be paid in

    full on the later of the Effective Date or the date on which any such Administrative Expense

    Claim becomes an Allowed Claim unless such holder shall agree to a different treatment of such

    Claim (including, without limitation, any different treatment that may be provided for in any

    documentation, statute, or regulation governing such Claim). However, the Administrative

    Expense Claims representing liabilities incurred in the ordinary course of business (including
    amounts owed to vendors and suppliers that have sold goods or furnished services to Debtors

    after the Petition Date), if any, will be paid in accordance with the terms and conditions of the

    particular transactions and any other agreements relating thereto. Debtors will include the

    estimated amount of such expenses in the Report of Administrative Expense Claims to be Filed

    prior to the hearing on confirmation.

                   3.      Classified Claims

           The following summary of distributions under the Plan to Classified Claims does not

    purport to be complete and is subject to, and is qualified in its entirety by reference to, the Plan

    attached hereto as Exhibit 1.

                           (a) Class 1 (Tasha-Teherani-Ami’s Secured Claim Against Dinihanian).

    Class 1 consists of Tasha Teherani-Ami’s Secured Claim against Dinihanian. The Class 1 Claim

    will be paid in full on the Effective Date, together with interest at the rate of 4.5% per annum

    from and after the Petition Date, and reasonable costs and attorney fees in an amount established

    by the Bankruptcy Court following application and hearing. Teherani-Ami will file an

    application her reasonable costs and attorney fees associated with the Class 1 Claim not later

    than 14 days after the entry of order confirming the Plan. Class 1 is unimpaired and will be

    deemed to accept the Plan. The Divorce Judgment shall be modified to extend the deadline for



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    payment of the Class 1 Claim to the date on which the Class 1 Claim is to be paid under the

    terms of this Plan.

           The Teherani-Ami Skyline Trust Deed shall be modified as follows:

              Section 1.2 shall be modified to read as follows:

               “Grantor will pay and perform all Obligations when due under the Joint Chapter 11
               Plan dated July 30, 2020, filed in the Bankruptcy Case of In re 15005 NW Cornell,
               LLC, Bankruptcy Case No. 19-31883-dwh11 (jointly administered).

              The following language shall be added to the end of Article V:

               “Notwithstanding the foregoing, the Obligations shall not be accelerated as a result of
               Grantor’s filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
               Case Number 19-31886-dwh11.

              Sections 1.8, 1.9, and all provisions referring those sections, shall be deleted.

    All other provisions of the Teherani-Ami Skyline Trust Deed shall remain unmodified.

                           (b) Class 2 (General Unsecured Claims Allowed Against NW Cornell).

    Class 2 consists of all Allowed Unsecured Claims against NW Cornell that are not otherwise

    classified in the Plan. Each holder of a Class 2 Claim shall be paid in full together with interest

    at the federal judgment rate (fixed at the rate in effect on the Effective Date) within six months

    after the Effective Date.

                           (c) Class 3 (Trust Claim). Class 3 consists of the Disputed Trust Claim to
    ownership in the Cornell Property as a result of the Divorce Judgment. The Class 3 will retain

    its prepetition membership interest in Cornell LLC as the Reorganized Debtor in full satisfaction

    of the Trust Claim. The Class 3 is impaired under the Plan.

                           (d) Class 4 (Multnomah County Property Taxes). Class 4 consists of

    Multnomah County’s secured property tax claim against Dinihanian, secured by the Skyline

    Property. The Class 4 Claim shall be paid in full, together with interest at the rate of 16% per

    annum from and after the Petition Date. The Class 3 Claim shall be paid in the same manner as

    Class 2 Claims.
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                          (e) Class 5 (Tasha Teherani-Ami). The Class 5 Claim consists of Tasha

    Teherani-Ami’s disputed secured claim against NW Cornell, pursuant to the Divorce Judgment

    and the Teherani-Ami Cornell Trust Deed. The Class 5 Claim is the same debt as the Class 1

    Claim and payment of the Class 1 Claim, described above, shall constitute full satisfaction of the

    Class 5 Claim. The Class 5 Claim is unimpaired and is deemed to accept the Plan.

                          (f)     Class 6 (Bateman Seidel Claim). Class 6 consists of the Allowed

    secured Claim of Bateman Seidel, PC. The Class 6 Claim shall be paid at the same time and in

    same manner as Class 2 Claims, described above.

                          (g)     Class 7 (Lorenz Claim). Class 7 consists of the Allowed secured
    Claim of Daniel Lorenz. The Class 7 Claim shall be paid in at the same time and in the same

    manner as the Class 2 Claims, described above.

                          (h) Class 8 (Columbia Bank – Equipment Loans). Class 8 consists of the

    Allowed Secured Claim of Columbia Bank, relating to the Columbia Equipment Note. Any

    default that exists under the Columbia Loan Documents shall be deemed cured or waived as of

    the Effective Date. Columbia’s Class 6 Claim will be paid in full together with interest at the

    non-default rate under the Columbia Equipment Note, on the same terms and payments as set

    forth in the Columbia Equipment Note, commencing with the first payment due 60 days after the

    Effective Date. The Columbia Equipment Note will remain in effect except as stated below:

                      The maturity date will be delayed for the amount of time between the Petition
                       Date and the date on which the first payment is due to the Class 6 Claim under
                       the terms of this Plan.

                      The Columbia Equipment Note shall be amended to delete any reference to
                       the note being payable on demand.

                      The following language shall be added to the end of Section X:

                        “Notwithstanding the foregoing, the Obligations shall not be accelerated as a
                        result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                        commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s

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                        filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                        Case Number 19-31883-dwh11.”

                            (i) Class 9 (Columbia Bank – Real Estate Loan). Class 9 consists of the

    Allowed Secured Claim of Columbia Bank, relating to the Columbia Real Estate Note. Any

    default that exists under the Columbia Loan Documents shall be deemed cured or waived as of

    the Effective Date. The Class 9 Claim will be paid in full together with interest at the non-

    default rate under the Columbia Real Estate Note, on the same terms and payments as set forth in

    the Columbia Real Estate Note. The Columbia Real Estate Note will remain in effect except as

    stated below:
                           The Columbia Real Estate Note shall be amended to delete any reference
                            to the note being payable on demand.

                           The following language shall be added to the end of Section X:

                            “Notwithstanding the foregoing, the Obligations shall not be accelerated
                            as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                            commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s
                            filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                            Case Number 19-31883-dwh11.”

                            (j) Class 10 (Guaranty Claims against Dinihanian). Class 10 consists of

    all allowed Guaranty Claims, including Columbia’s Allowed Claims related to the Columbia

    Guaranty Documents, and those related to other Guaranty Documents. Any default that exists

    under the Columbia Guaranty Documents or other Guaranty Documents shall be deemed cured

    or waived as of the Effective Date. The Columbia Guaranty Documents and other Guaranty

    Documents shall remain in effect, except as stated:

                           The following language in the Columbia Guaranty Documents shall be
                            added to the end of Section X:

                            “Notwithstanding the foregoing, the Obligations shall not be accelerated
                            as a result of Grantor’s filing of a bankruptcy petition on May 21, 2019,
                            commencing Bankruptcy Case Number 19-31886-dwh11, or Guarantor’s


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                            filing of a bankruptcy petition on May 21, 2019, commencing Bankruptcy
                            Case Number 19-31883-dwh11.”

                            (k) Class 11 (General Unsecured Claims against Dinihanian). Class 11

    consists of all Allowed unsecured claims against Dinihanian not otherwise classified in this Plan.

    Each holder of a Class 11 Claim shall be paid in full together with interest at the federal

    judgment rate (fixed at the rate in effect on the Petition Date) from and after the Petition Date,

    until paid in full. The Class 11 Claims shall be paid at the same time and in the same manner as

    the Class 2 claim.

                            (l) Class 12 (Interests in NW Cornell). Class 12 Interests in NW Cornell
    shall retain their interests in NW Cornell.

                            (m) Class 13 (Dinihanian’s Interests). The Class 13 interest holder is

    Dinihanian, who shall retain his interests in property of the bankruptcy estate of the Dinihanian

    Bankruptcy Case.

           B.      ADMINISTRATIVE EXPENSES

           NW Cornell has retained the following professionals: (a) Perkins Coie LLP as its general

    counsel in this case and (b) Delap LLP as its accountants. Currently, the total amount of

    Administrative Expense Claims is $300,000 and could be as high as $375,000 by the Effective

    Date depending on the extent of litigation with various parties in interest. A statement of

    professional fees incurred in this case will be Filed with the Court prior to the confirmation

    hearing.

           Dinihanian has retained the following professionals: (a) Motschenbacher & Blattner LLP

    as his general bankruptcy counsel in this case and (b) Delap LLP as his accountants. Currently,

    the total amount of Administrative Expense Claims is approximately $150,000 and could be as

    high as $200,000 depending on the extent of litigation with various parties in interest. A

    statement of professional fees incurred in this case will be Filed with the Court prior to the

    confirmation hearing.

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           C.      EXECUTORY CONTRACTS

           The Bankruptcy Code gives debtors the right, after commencement of their Chapter 11

    Cases, subject to approval of the Bankruptcy Court, to assume or reject executory contracts and

    unexpired leases. Generally, an “executory contract” is a contract under which material

    performance (other than the payment of money) is still due by each party. The Plan provides for

    the assumption by debtors of all executory contracts and unexpired leases that are not expressly

    rejected or subject to a motion for rejection Filed on or before the Confirmation Date.

           If an executory contract or unexpired lease is or has been rejected, the other party to the
    agreement may file a Proof of Claim for damages resulting from such rejection. The Plan

    provides that a Proof of Claim with respect to any such Claim must be Filed within 30 days of

    approval of the Bankruptcy Court of the rejection of the relevant executory contract or unexpired

    lease. Any such Claim shall constitute a Class 2 Claim to the extent such Claim is finally treated

    as an Allowed Claim. To the extent a debtor rejects an unexpired lease of nonresidential real

    property, the Claim for damages resulting from such rejection will be limited to the amount

    allowed under the Bankruptcy Code.

           Upon assumption of an executory contract or unexpired lease, debtors must cure or

    provide adequate assurance of prompt cure of any monetary defaults. The Plan provides that

    Reorganized Debtors will promptly cure all monetary defaults.

           The Trust asserts the NW Cornell limited liability operating agreement (the “Operating

    Agreement”) is an executory contract that must be assumed and that, because it includes a

    personal services contract, the Trust contends, the contract cannot be assumed by NW Cornell

    without the Trust’s consent, which will not be provided. The Trust further contends the Plan

    cannot be confirmed, and indeed the bankruptcy case must be dismissed, absent NW Cornell’s

    assumption of the Operating Agreement. Specifically, the Trust argues NW Cornell’s failure to

    execute a deed to the Trust of half of NW Cornell’s tenant-in-common interest in the Cornell



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    Property, pursuant to the Stipulated Judgment, is default under the Operating Agreement that

    must be cured as a condition of assumption.

           The Debtors disagree with the Trust’s argument on numerous grounds, including that the

    Operating Agreement is not an executory contract, that NW Cornell was not a party to the

    Stipulated Judgment that purports to require execution of a deed to the Trust, that NW Cornell

    received no consideration for such a transfer, among other arguments. These arguments are set

    forth and will be decided, in whole or in part, through NW Cornell’s objection to the Trust’s

    Claim, the Trust’s Complaint, and the Cornell Avoidance Action.
           If the Trust prevails and the Debtors do not, the Plan Lender may not fund the Plan Loan

    and the Plan may not be confirmable.

           D.      IMPLEMENTATION OF THE PLAN

           The Debtors will obtain the funds to pay Claims as provided in this Plan through

    borrowing under the Plan Loan. Repayment of the Plan Loan will be secured by encumbrance

    on the Skyline Property. It will also be secured by an encumbrance on NW Cornell’s tenant-in-

    common interest in the Cornell Property. NW Cornell is authorized to such an encumbrance

    pursuant to Paragraph 8 of the Tenant-in-Common Agreement, which states: “Each owner shall

    have the right to encumber its undivided interest in the Property without the approval of any

    person and shall discharge the obligation secured by the encumbrance in accordance with its

    terms.” Other tenant-in-common owners have challenged NW Cornell’s right to agree to such an

    encumbrance. There is a risk that such a challenge will prevail and that the encumbrance will

    not be permitted. Under those conditions, the Plan Lender may not agree to fund the Plan Loan.

           The Trust asserts NW Cornell must deliver to it a deed to a twenty-five percent tenant-in-

    common interest in the Cornell Property in exchange for the redemption of the Trust’s fifty-

    percent membership interest in NW Cornell, an exchange provided for the Stipulated Judgment.

    NW Cornell rejects the Trust’s position that it must deliver a deed on various grounds, including

    that NW Cornell was not a party to the Stipulated Judgment and received no consideration for

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    such a deed. The Trust has commenced an adversary proceeding seeking a declaratory judgment

    that would result in the Trust owning half of NW Cornell’s TIC interest in the Cornell Property.

    The Trust also argues that the Debtors must assume three executory contracts before Debtors

    have the authority to confirm the Plan and obtain the Plan loan. Debtors deny all of the Trust’s

    claims.

              NW Cornell is defending the adversary proceeding brought by the Trust and has

    commenced an adversary proceeding to avoid any obligation allegedly imposed upon NW

    Cornell to transfer a deed to the Trust. NW Cornell has also filed an objection to the Trust’s
    proof of claim. Debtors believe that the Trust’s right to equitable relief would be eliminated if

    the objection to the proof of claim is sustained by the Bankruptcy Court. The Trust has argued

    that NW Cornell must succeed in both adversary proceedings and the proof of claim objection

    for the Plan to be successful. Debtors reject the Trust’s arguments and believe the Plan may still

    be successful even if NW Cornell loses the claim objection and both adversary proceedings.

    Ultimately, however, the following risks exist: (i) the Debtors may lose the adversary

    proceedings and the proof of claim objection, (ii) losing one or more of the adversary

    proceedings and the proof of claim objection could require NW Cornell to grant a deed to the

    Trust; and (iii) the Plan Lender may not agree to fund the Plan Loan if the Trust is granted a

    deed, which would result in failure of the Plan.

              The Trust also asserts, in light of its claims under the Stipulated Judgment, NW Cornell

    should not be permitted to grant an encumbrance on NW Cornell’s half tenant-in-common

    interest in the Cornell Property. If the Trust’s objection is sustained, the encumbrance on NW

    Cornell’s fifty-percent tenant-in-common interest in the Cornell Property envisioned by Plan

    Lender will be diminished by half, and the Plan Lender may not agree to fund the Plan Loan.

              As a condition of the Plan Loan, the Plan Lender will require the Debtors to agree to (i)

    use their best efforts to complete or otherwise resolve the partition litigation pending in

    Washington County or (ii), in consultation with the Plan Lender, make a determination that

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    completion of the partition litigation is not practicable within a reasonable time and the Debtors

    should pursue, through a reservation of jurisdiction by this Court, the sale of the entire Cornell

    Property pursuant to Section 363(h) of the Bankruptcy Code. The criteria used by Debtors

    would include the length of time required to complete the proposed partition, the difficulty and

    expense involved in pursuing the partition if the co-owners of the Cornell Property oppose

    partition, appeal any judgment in the partition litigation, or if the co-owners otherwise try to

    block or thwart Debtors’ efforts to finalize the partition of the Cornell Property. For the

    avoidance of doubt, the Debtors’ agreement to referenced above will be sufficient to permit the
    funding of the Plan Loan and the payment of Claims as set forth in the Plan.

           The Debtors anticipate the $5.6 million in proceeds under the Plan Loan to be dedicated

    as set forth in Exhibit 3, Projected Use of Funds. One component of the Use of Funds is the

    reservation of $1.5 million (a) for completion of the partition litigation, (b) to complete the land

    use and entitlement process in Washington County, (c) if necessary, to prosecute an adversary

    proceeding under Section 363(h) of the Bankruptcy Code to obtain an order requiring the sale of

    the entire Cornell Property on the grounds that completion of the partition process will involve

    impracticable delays and obstruction, and (d) for initial design and development costs. The

    actual timing and content of any future development of the Cornell Property or any partitioned

    portion thereof will depend on how the above elements evolve. The payment of creditors’ claims

    under the Plan will be funded by the Plan Loan and will not await or be dependent upon the

    resolution of any of the elements of uncertainty described in this paragraph.

           The Debtors anticipate that the Plan Loan will be repaid at maturity by refinancing. If the

    Debtors are forced to seek relief under Section 363(h) of the Bankruptcy Code, the sale of the

    NW Cornell-owned as well as non-debtor interests in the Cornell Property will be sold. In this

    instance, the Plan Loan would be repaid with the proceeds of such sale.




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           E.      EFFECT OF CONFIRMATION

                   1.      Binding Effect

           The treatment of, and consideration received by, holders of Allowed Claims and Interests

    pursuant to the Plan will be in full satisfaction of their respective Claims against or Interests in

    Debtors. The Confirmation Order shall bind Debtors and any Creditor, and discharge Debtors

    from any liability that arose before the Effective Date, as provided in Sections 524 and 1141 of

    the Bankruptcy Code, and any debt and liability of a kind specified in Sections 502(g), 502(h) or

    502(i) of the Bankruptcy Code, whether or not (1) a proof of claim based on such Creditor’s debt
    or liability is Filed or deemed Filed under Section 501 of the Bankruptcy Code, (2) a Claim

    based on such debt or liability is Allowed, or (3) the holder of the Claim based on such debt or

    liability has accepted the Plan.

                   2.      Revesting, Operation of Business

           Except for the Cornell Property, which will remain property of the estate of the NW

    Cornell bankruptcy until the Cornell Property Revesting Date, all property of the bankruptcy

    estates shall revest in each respective Reorganized Debtor on the Effective Date free and clear of

    all rights, claims, liens, charges, encumbrances, and interests, except as otherwise specifically

    provided in the Plan. Except as otherwise set forth in the Plan, there are no limitations or

    restrictions on the post-confirmation activities or operations of Debtors.

                   3.      Injunction

           The effect of confirmation shall be as set forth in Section 1141 of the Bankruptcy Code.

    Except as otherwise provided in the Plan, prior order of the Bankruptcy Court, or in the

    Confirmation Order, confirmation of the Plan shall act as a permanent injunction applicable to

    entities against (1) the commencement or continuation, including the issuance or employment of

    process, of a judicial, administrative, or other action or proceeding of any kind against Debtors or

    Reorganized Debtors that was or could have been commenced before the entry of the

    Confirmation Order; (2) the enforcement, attachment, collection, or recovery against

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    Reorganized Debtors or its assets of any judgment, award, decree, or order obtained before the

    Petition Date; (3) any act to obtain possession of or to exercise control over, or to create, perfect,

    or enforce a lien upon all or any part of the assets of Reorganized Debtors; (4) asserting any

    setoff, or right of subrogation or recoupment of any kind against any obligation due to Debtors,

    Reorganized Debtors, or their property; and (5) proceeding in any manner in any place

    whatsoever that does not conform to, does not comply with, or is inconsistent with the provisions

    of the Plan or the Confirmation Order. For the avoidance of doubt, the injunction referenced

    above shall be applicable to the matters set forth in Section IV. Neither the injunction nor any
    provision of the Plan prohibits the Washington County Case to proceed to completion in state

    court including all appeals.

                   4.      Event of Default

           Any material failure by Reorganized Debtors to perform any term of the Plan, which

    failure continues for a period of fifteen Business Days following receipt by Reorganized Debtors

    of written notice of such default from the holder of an Allowed Claim to whom performance is

    due, shall constitute an Event of Default. Upon the occurrence of an Event of Default, the holder

    of an Allowed Claim to whom performance is due shall have all rights and remedies granted by

    law, the Plan or any agreement between the holder of such Claim and Debtors or Reorganized

    Debtors. An Event of Default with respect to one Claim shall not be an Event of Default with

    respect to any other Claim.

                   5.      Modification of the Plan; Revocation or Withdrawal of the Plan

           Subject to Section 1127 of the Bankruptcy Code, Debtors reserves the right to alter,

    amend, modify, or withdraw the Plan before its substantial consummation so long as the

    treatment of holders of Claims and Interests under the Plan are not adversely affected.




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                   6.      Retention of Jurisdiction

            Notwithstanding the entry of the Confirmation Order, the Court shall retain jurisdiction

    of this Chapter 11 Case pursuant to and for the purposes set forth in Section 1127(b) of the

    Bankruptcy Code and:

                           (a) to classify the Claim or interest of any Creditor or stockholder,

    reexamine Claims or Interests which have been owed for voting purposes and determine any

    objections that may be Filed to Claims or Interests,

                           (b) to determine requests for payment of Claims entitled to priority under
    Section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of

    expenses in favor of professionals employed at the expense of the Estate,

                           (c) to avoid liens, transfers, or obligations or to subordinate Claims under

    Chapter 5 of the Bankruptcy Code,

                           (d) to approve the assumption, assignment or rejection of an executory

    contract or an unexpired lease pursuant to this Plan,

                           (e) to resolve controversies and disputes regarding the interpretation of

    this Plan,

                           (f) to implement the provisions of this Plan and enter orders in aid of

    confirmation, including an action by the Reorganized Debtors pursuant to Section 363(h) of the

    Bankruptcy Code brought prior to the Cornell Property Revesting Date,

                           (g) to adjudicate adversary proceedings and contested matters pending or

    hereafter commenced in this Chapter 11 Case, and

                           (h) to enter a final decree closing this Chapter 11 proceeding.

                   7.      United States Trustee Fees

            Reorganized Debtors shall be responsible for timely payment of fees incurred pursuant to

    28 U.S.C. § 1930(a)(6) until the case is closed, converted, or dismissed. After confirmation,

    Reorganized Debtors shall serve on the United States Trustee a financial report for each quarter,

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    or portion thereof, that the case remains open. The quarterly financial report shall include a

    statement of all disbursements made during the course of the quarter, whether or not pursuant to

    the Plan.

    VIII. LIQUIDATION ANALYSIS

            A Plan of Reorganization cannot be confirmed unless the Bankruptcy Court finds that the

    Plan is in the “best interest of creditors” or holders of Claims against, and Equity Security in,

    Debtors subject to such plan. The best interest test is satisfied if a plan provides each dissenting

    or non-voting member of each impaired Class with a recovery not less than the recovery such
    member would receive if each Debtor was liquidated in a hypothetical case under Chapter 7 of

    the Bankruptcy Code by a Chapter 7 Trustee. The Debtors are proposing to pay all creditors in

    full, and thus the best interest of creditors test is automatically satisfied.

            Despite the fact that the Debtors’ Plan of Reorganization proposes to pay all creditors in

    full and therefore satisfies best interest of creditors test, certain parties in interest have demanded

    that a liquidation analysis be provided. Attached as Exhibit 4 is a liquidation analysis provided

    by the Debtors. All asset values included in the liquidation analysis were based on the Debtors’

    opinions of value, based on Debtors’ familiarity with their properties, and Debtors’ experience in

    the area of commercial real estate. Parties in interest have asserted that the Debtors’ statements

    of value have been inconsistent, but Debtors assert that any differing valuation numbers were

    due, in part, to the difference in the time periods when valuation estimates were prepared.

    Additionally, Debtors assert that inconsistency in valuation may also be due to differences in the

    type of valuation (i.e., liquidation vs. going concern value). The valuation estimates provided in

    the attached liquidation analysis are intended to be current fair market values as of the date of

    this disclosure statement.




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    IX.     POSSIBLE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

            CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN

    MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN

    ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.

            The following discussion summarizes in general terms certain federal income tax

    consequences of the implementation of the Plan based upon existing provisions of the Internal

    Revenue Code of 1986, as amended (the “Internal Revenue Code”), court decisions, and current

    administrative rulings and practice. This summary does not address the federal income tax
    consequences of the Plan to holders of priority or secured claims, nor does it address any state,

    local or foreign tax matters or the federal income tax consequences to certain types of creditors

    (including financial institutions, life insurance companies, tax exempt organizations and foreign

    taxpayers) to which special rules may apply. No rulings or opinions have been or will be

    requested from the Internal Revenue Service with respect to any of the tax aspects of the Plan.

            THIS ANALYSIS DOES NOT ADDRESS THE TAX IMPLICATIONS OF THE PLAN

    TO ANY SPECIFIC CREDITOR. Substantial differences in the tax implications are likely to be

    encountered by the creditors because of the difference in the nature of their Claims, their

    taxpayer status, their method of accounting, and the impact of prior actions they may have taken

    with respect to their Claims.

            The following are the anticipated tax consequences of the Plan:

            A.      TAX CONSEQUENCES TO THE DEBTORS.

            The Debtors do not anticipate any extraordinary or unusual tax consequences because all

    claims are expected to be paid in full. Debtors will experience ordinary income from continued

    operations and earnings and will be entitled to deduct business expenses for any business-related

    expenses and interest expense. Debtors do not anticipate any cancellation of debt income. In the

    event NW Cornell sells its real property, NW Cornell shall pay any applicable capital gains taxes

    that result from the sale.

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           B.      GENERAL TAX CONSEQUENCES ON CREDITORS.

                   Creditors will likely not experience any unusual or extraordinary tax consequence

    following Confirmation of the Plan. Payments will be treated in the same manner as they were

    treated before Confirmation of the Plan. As discussed above, the effect of the Plan on specific

    creditors will depend on specific financial information relative to such creditor that is unknown

    to the Debtors. As a result, the tax implications to specific creditors cannot be completely

    described herein

           EACH INTEREST HOLDER IS URGED TO CONSULT SUCH INTEREST
    HOLDER’S OWN TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO

    SUCH HOLDER UNDER FEDERAL AND APPLICABLE STATE, LOCAL, AND FOREIGN

    TAX LAWS. DEBTORS AND DEBTORS’ COUNSEL EXPRESS NO OPINION AS TO THE

    TAX CONSEQUENCES OF THE PLAN OR THE EFFECT THEREOF ON ANY

    CLAIMANT.

    X.     ACCEPTANCE AND CONFIRMATION OF THE PLAN

           A.      CONFIRMATION HEARING

           The Bankruptcy Court has scheduled a hearing on confirmation of the Plan on

    _______________, 2020 at ____.m Pacific time. The hearing will be held at the

    U.S. Bankruptcy Court for the District of Oregon, 1050 SW 6th Avenue, 7th Floor, Portland,

    Oregon in Courtroom No. 3, before the Honorable David W. Hercher, United States Bankruptcy

    Judge. At that hearing, the Bankruptcy Court will consider whether the Plan satisfies the various

    requirements of the Bankruptcy Code, including whether it is feasible and whether it is in the

    best interest of Creditors and Interest holders of Debtors. Debtors will submit a report to the

    Bankruptcy Court prior to the hearing concerning the votes for acceptance or rejection of the

    Plan by the parties entitled to vote thereon. Any objection to confirmation of the Plan must be

    timely filed on or before _______________, 2020 to be considered by the Court.



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           B.      REQUIREMENTS OF CONFIRMATION

                   At the hearing on confirmation, the Bankruptcy Court will determine whether the

    provisions of Section 1129 of the Bankruptcy Code have been satisfied. If all of the provisions

    of Section 1129 are met, the Bankruptcy Court may enter an order confirming the Plan. Debtors

    believe the Plan satisfies all of the requirements of Chapter 11 of the Bankruptcy Code, that it

    has complied or will have complied with all of the requirements of Chapter 11, and that the Plan

    has been proposed and is made in good faith.

           C.      CRAMDOWN
           A Court may confirm a Plan, even if it is not accepted by all impaired classes, if the Plan

    has been accepted by at least one impaired class of claims and the Plan meets the cramdown

    requirements set forth in Section 1129(b) of the Bankruptcy Code. In the event any impaired

    Class of Claims does not accept the Plan, Debtor hereby requests the Bankruptcy Court to

    confirm the Plan in accordance with Section 1129(b) of the Bankruptcy Code or otherwise

    permit Debtors to modify the Plan.

           D.      FEASIBILITY

           Debtors believe that confirmation of the Plan is not likely to be followed by the

    liquidation of either of the Reorganized Debtors or a need for a further financial reorganization

    of Reorganized Debtors. Debtors believe they can obtain financing through the Plan Loan in an

    amount sufficient to pay all creditors in full. The timing of the payments to Creditors will

    depend on the timing of the closing and the availability of funds under the Plan Loan.

           E.      ALTERNATIVES TO CONFIRMATION OF THE PLAN

           If a Plan is not confirmed, Debtors or another party in interest may attempt to formulate

    or propose a different Plan or Plans of Reorganization. Such Plans might involve the sale of

    Dinihanian’s other assets, an orderly liquidation of NW Cornell’s assets, or any combination

    thereof. If no Plan of Reorganization is determined by the Bankruptcy Court to be confirmable,



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    the Chapter 11 case may be converted to a liquidation proceeding under Chapter 7 of the

    Bankruptcy Code.

           In a liquidation, a Chapter 7 trustee would be appointed with the purpose of liquidating

    the assets of Debtors. Typically, in liquidation, assets are sold for less than their going concern

    value and, accordingly, the return to Creditors and Interest holders is less than the return in a

    reorganization, which derives the value to be distributed in a Plan from the business as a going

    concern. Proceeds from liquidation would be distributed to Creditors and Interest holders of

    Debtors in accordance with the priorities set forth in the Bankruptcy Code.
           Debtors believe there is no currently available alternative that would offer holders of

    Claims and Interests in Debtors greater than the Plan and urges all parties entitled to vote on the

    Plan to vote to accept the Plan.

    XI.    CONCLUSION

          Please read this Disclosure Statement and the Plan carefully. After reviewing all the

    information and making an informed decision, please vote by using the enclosed ballot.

          DATED this 13th day of October 2020.

                                             Respectfully submitted,

                                             PERKINS COIE LLP

                                             By /s/ Douglas Pahl
                                                Douglas Pahl, OR Bar No. 950476
                                                Of Attorneys for Debtor 15005 NW Cornell LLC


                                             MOTSCHENBACHER & BLATTNER LLP

                                             By /s/ Nicholas J. Henderson
                                                Nicholas J. Henderson, OSB No. 074027
                                                    Of Attorneys for Debtor Vahan M. Dinihanian, Jr




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    EXHIBITS ATTACHED:

    Exhibit 1: Joint Plan of Reorganization


    Exhibit 2: Term Sheet


    Exhibit 3: Projected Use of Funds


    Exhibit 4: Liquidation Analysis




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Exhibit 3 -- Projected Use of Funds


Teherani‐Ami Claim                         $3,000,000
Creditors, unsecured                        $300,000
Creditors, admin                            $600,000
Loan Transaction Costs                        $35,000
Origination Fee                              $112,000
Underwriting Fee                              $15,000
Reserves / Future Development Costs        $1,500,000

Total Use of Funds                         $5,600,000

** Projections, subject to modification.




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